Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 1 of 167 Page ID #:479



     1 LEROY SMITH, State Bar No. 107702
         County Counsel, County of Ventura
     2 CHARMAINE H. BUEHENER, State Bar No. 220868
         Assistant County Counsel
     3 800 South Victoria Avenue, L/C #1830
         Ventura, California 93009
     4 Telephone: (805) 654-2588
         Facsimile: (805) 654-2185
     5 E-mail:      charmaine.buehner@ventura.org
     6 Attorneys for Defendants County of Ventura
         (also erroneously sued as Ventura County Public
     7 Health Care Agency), Sheriff William Ayub
         (erroneously sued as “Bill Ayub”), Robert Levin
     8 and William T. Foley
     9
    10                        UNITED STATES DISTRICT COURT
    11                      CENTRAL DISTRICT OF CALIFORNIA
    12
    13 DONALD MCDOUGALL, an               )     No. 2:20 cv-029927 CBM(ASX)
         individual; JULIANA GARCIA, an )
    14   individual; SECOND AMENDMENT )         REQUEST FOR JUDICIAL NOTICE
         FOUNDATION; CALIFORNIA           )     IN SUPPORT OF OPPOSITION TO
    15   GUN RIGHTS FOUNDATION; and )           PLAINTIFFS’ MOTION FOR
         FIREARMS POLICY COALITION, )           PRELIMINARY INJUNCTION
    16   INC.,                            )
                                          )     Date:        May 19, 2020
    17                       Plaintiffs,  )     Time:        10:00 a.m.
                vs.                       )     Ctrm:        8B
    18                                    )     Judge:       Hon. Consuelo B.
         COUNTY OF VENTURA,               )                  Marshall
    19   CALIFORNIA; BILL AYUB, in his )
         official capacity; WILLIAM T.    )     Trial:           Not Set
    20   FOLEY, in his official capacity, )     Complaint Filed: March 28, 2020
         ROBERT LEVIN, in his official    )
    21   capacity; and VENTURA COUNTY )
         PUBLIC HEALTH CARE AGENCY, )
    22                                    )
                             Defendants.  )
    23                                    )
    24 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    25         Defendants County of Ventura (sued in its own name and erroneously in the
    26 name of “Ventura County Public Health Care Agency”), Sheriff William Ayub
    27 (erroneously sued as “Bill Ayub”), Robert Levin and William T. Foley
    28 (collectively “Defendants”), pursuant to Federal Rules of Evidence, rule 201,
                                                1
                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                    OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 2 of 167 Page ID #:480



     1 request that this court take judicial notice of the following official public
     2 documents and newspaper articles, including:
     3         Exhibit 1: Centers for Disease Control, Coronavirus Disease 2019
     4 (COVID-19), Frequently Asked Questions, available at
     5 https://www.cdc.gov/coronavirus/2019- ncov/faq.html (visited April 27, 2020).
     6         Exhibit 2: Gish v. Newsom (C.D. Cal. April 23, 2020) Case No. 5:20-cv-
     7 00755-JGB-KK, ECF 51, pg. ID 1021 (“Gish”).
     8         Exhibit 3: World Health Organization, Coronavirus Disease 2019 Situation
     9 Report (April 23, 2020), available at
    10 https://www.who.int/docs/default-source/coronaviruse/
    11 situation-reports/20200423-sitrep-94-covid-19.pdf?sfvrsn=b8304bf0_4 (visited
    12 April 27, 2020).
    13         Exhibit 4: Executive Department of the State of California, Proclamation of
    14 a Statewide Emergency, from the Executive Department, State of California,
    15 signed by Governor Gavin Newsom (March 4, 2020).
    16         Exhibit 5: World Health Organization, Declaration of Global Pandemic
    17 (March 11, 2020), available at
    18 https://www.who.int/dg/speeches/detail/who-director-
    19 general-s-opening-remarks-at-the-media-briefing-on-covid-19---11-march-2020
    20 (visited April 26, 2020).
    21         Exhibit 6: County of Ventura, Declaration of Local Emergency by County
    22 Health Officer (March 12, 2020).
    23         Exhibit 7: County of Ventura, Health Officer Order for the Control of
    24 COVID-19 Directing Vulnerable Individuals Living in the County to Shelter at
    25 Their Place of Residence, Restrictions of Certain Businesses, Among other Orders,
    26 Date of Order: March 17, 2020 (March 17, 2020).
    27         Exhibit 8: Executive Department of the State of California, Executive
    28 Order No. N-33-20 (March 19, 2020).
                                                   2
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                     OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 3 of 167 Page ID #:481



     1        Exhibit 9: United States Department of Homeland Security, Cybersecurity
     2 and Infrastructure Security Agency (“CISA”), March 19, 2020, Memorandum on
     3 Identification of Critical Infrastructure Workers During COVID-19 Response
     4 (March 19, 2020) available at: https://www.cisa.gov/sites/default/files/
     5 publications/CISA-Guidance-on-Essential-Critical-Infrastructure-Workers-1-20-50
     6 8c.pdf (last visited April 1, 2020).
     7        Exhibit 10: Public Health Officer of the State of California, Essential
     8 Business List (March 22, 2020) available at
     9 https://covid19.ca.gov/img/EssentialCriticalInfrastructureWorkers.pdf (visited
    10 April 27, 2020).
    11        Exhibit 11: Mercury News, Coronavirus: Are Gun Stores Essential?
    12 Governor Newsom Sidesteps that Question, Leaves It to the Counties (March 25,
    13 2020) available at https://www.mercurynews.com/2020/03/25/coronavirus-are-
    14 gun-stores-essential-governor-sidesteps-that-question-leaves-it-to-the-counties
    15 (visited April 26, 2020).
    16        Exhibit 12: County of Ventura, Stay Well At Home Order of the Ventura
    17 County Health Officer (March 20, 2020).
    18        Exhibit 13: County of Ventura, Stay Well At Home Order of the Ventura
    19 County Health Officer (March 31, 2020).
    20        Exhibit 14: County of Ventura, Stay Well At Home Order of the Ventura
    21 County Health Officer (April 9, 2020).
    22        Exhibit 15: County of Ventura, Stay Well At Home Order of the Ventura
    23 County Health Officer (April 20, 2020).
    24        Exhibit 16: The Hill, Crime Rates Drop Across the Nation (April 3, 2020)
    25 available at https://thehill.com/homenews/state-watch/491055-crime-rates-drop
    26 -across-the-nation-amid-coronavirus (visited April 25, 2020).
    27        Exhibit 17: U.S. News & World Report, New York State Surpasses 1,000
    28 Coronavirus Deaths (March 29, 2020) available at https://www.usnews.com
                                                 3
                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                    OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 4 of 167 Page ID #:482



     1 /news/us/articles/2020-03-29/new-york-citys-poorer-neighborhoods-hit-hardest-by
     2 -virus (visited April 25, 2020).
     3         Exhibit 18: WGN9 Web Desk, WGN Investigates How the Stay At Home
     4 Order Has Impacted Chicago’s Crime Statistics (March 25, 2020) available at
     5 https://wgntv.com/news/wgn-investigates/how-the-stay-at-home-order-has-impacte
     6 d-chicagos-crime-statistics/ (visited April 25, 2020).
     7         Exhibit 19: Reason, Miami Has Recorded No Homicides in 6 Weeks
     8 Despite Deliberate Decline in Police Enforcement (April 23, 2020), available at
     9 https://reason.com/2020/04/23/miami-has-recorded-no-homicides-in-6-weeks-desp
    10 ite-deliberate-decline-in-police-enforcement/ (visited April 25, 2020).
    11         Exhibit 20: Ventura County Star, Coronavirus: Deputies Say Commercial
    12 Thefts on the Rise, Ventura County Star (April 13, 2020) available at
    13 https://www.vcstar.com/story/news/crime/2020/04/13/coronavirus-sheriff-say-com
    14 mercial-burglaries-vehicle-thefts-rise/2977993001/ (visited April 26, 2020).
    15         Exhibit 21: California Department of Public Health, COVID-19 by the
    16 Numbers (May 2, 2020) available at
    17 https://www.cdph.ca.gov/Programs/CID/DCDC/PublishingImages/COVID-19/CA
    18 _COVID-19_May2.png (last visted May 5, 2020); see also
    19 https://public.tableau.com/views/COVID-19PublicDashboard/Covid-19Public?:em
    20 bed=y&:display_count=no&:showVizHome=no (last visited May 5, 2020).
    21         Exhibit 22: United States Department of Homeland Security, Cybersecurity
    22 and Infrastructure Security Agency (“CISA”), March 28, 2020, Revised
    23 Memorandum on Identification of Critical Infrastructure Workers During COVID-
    24 19 Response (March 28, 2020) available at:
    25 https://www.cisa.gov/sites/default/files/publications/Version_3.0_CISA_Guidance
    26 _on_Essential_Critical_Infrastructure_Workers_1.pdf (last visited April 27, 2020).
    27         Defendants respectfully submit that public documents and newspaper
    28 articles (Exhibits 1-22) are proper for judicial notice as well as for consideration by
                                                  4
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                     OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 5 of 167 Page ID #:483



     1 this court with defendants’ opposition to the motion for preliminary injunction
     2 filed by plaintiffs Donald McDougall, Juliana Garcia, Second Amendment
     3 Foundation, California Gun Rights Foundation and Firearms Policy Coalition
     4 (collectively “Plaintiffs”). Courts may take judicial notice of “a fact that is not
     5 subject to reasonable dispute because it . . . can be accurately and readily
     6 determined from sources whose accuracy cannot reasonably be questioned” and
     7 where such judicial notice “is requested by a party and supplied with the necessary
     8 information” “at any stage of the proceeding.” (Fed. Rules Evid., rules 201(b)(2),
     9 (d) and (f); Hepting v. AT & T Corp. (N.D. Cal. 2006) 439 F.Supp.2d 974, 987-989
    10 [taking judicial notice of official reports, newspaper articles, and press releases];
    11 Pacific Gas & Elec. Co. v. Lynch (C.D. Cal. May 2, 2001) No. CV
    12 01-1083RSWLSHX, 2001 WL 840611 at *6 [taking judicial notice of California
    13 Governor Gray Davis’s January 17, 2001, Proclamation of a State of Emergency];
    14 U.S. ex rel. Modglin v. DJO Global Inc. (C.D. Cal. 2014) 48 F.Supp.3d 1362,
    15 1381 [“Under Rule 201, the court can take judicial notice of ‘[p]ublic records and
    16 government documents available from reliable sources on the Internet,’ such as
    17 websites run by governmental agencies”]; County of Santa Clara v. Trump (N.D.
    18 Cal. 2017) 250 F.Supp.3d 497, 520 [taking judicial notice of proclamations made
    19 by U.S. Attorney General Jeff Sessions]; Merced Irrigation Dist. v. County. of
    20 Mariposa (E.D.Cal. 2013) 941 F.Supp.2d 1237, 1261–1262 [taking judicial notice
    21 of Board of Supervisors’ resolution as matter of public record]; Catholic League
    22 for Religious & Civil Rights v. City & County of San Francisco (9th Cir. 2009) 567
    23 F.3d 595, 606, on reh’g en banc (9th Cir. 2010) 624 F.3d 1043 [judicial notice of
    24 county board of supervisors’ actions according to its public resolution]; Elena Selk
    25 v. Pioneers Mem’l Healthcare Dist., (S.D. Cal. Apr. 7, 2014) No. 13CV0244 DMS
    26 (BGS), 2014 WL 12729166 at *2 [taking judicial notice of date entity was
    27 established according to board of supervisors’ resolution].
    28 / / /
                                                   5
                              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                     OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 6 of 167 Page ID #:484



     1        Here, the attached exhibits are publicly available records whose authenticity
     2 is not reasonably questionable. As a result, Defendants ask that this court take
     3 judicial notice of these documents.
     4                                  LEROY SMITH
                                        County Counsel, County of Ventura
     5
     6
         Dated: May 5, 2020             By              /s/
     7                                         CHARMAINE H. BUEHNER
                                               Assistant County Counsel
     8
                                        Attorneys for Defendant County of Ventura
     9                                  (also erroneously sued as Ventura County Public
                                        Health Care Agency), Sheriff William Ayub
    10                                  (erroneously sued as “Bill Ayub”), Robert Levin
                                        and William T. Foley
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                 6
                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                    OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 7 of 167 Page ID #:485
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 8 of 167 Page ID #:486
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 9 of 167 Page ID #:487
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 10 of 167 Page ID
                                   #:488
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 11 of 167 Page ID
                                   #:489
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 12 of 167 Page ID
                                   #:490
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 13 of 167 Page ID
                                   #:491
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 14 of 167 Page ID
                                   #:492
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 15 of 167 Page ID
                                   #:493
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 16 of 167 Page ID
                                   #:494
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 17 of 167 Page ID
                                   #:495
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 18 of 167 Page ID
                                   #:496
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 19 of 167 Page ID
                                   #:497
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 20 of 167 Page ID
                                   #:498
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 21 of 167 Page ID
                                   #:499
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 22 of 167 Page ID
                                   #:500
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 23 of 167 Page ID
                                   #:501
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 24 of 167 Page ID
                                   #:502
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 25 of 167 Page ID
                                   #:503
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 26 of 167 Page ID
                                   #:504
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 27 of 167 Page ID
                                   #:505
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 28 of 167 Page ID
                                   #:506
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 29 of 167 Page ID
                                   #:507
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 30 of 167 Page ID
                                   #:508
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 31 of 167 Page ID
                                   #:509
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 32 of 167 Page ID
                                   #:510
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 33 of 167 Page ID
                                    #:511
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 2 of 9 Page ID #:1018



  Art. 1, § 2); (10) Freedom of Assembly (Cal. Const. Art. 1, § 3); and (11) Free Exercise and
  Enjoyment of Religion (Cal. Const. Art. 1, § 4).

        Plaintiffs filed the Request on April 13, 2020, the same day they filed the Complaint.
  (Request.) In support of the Request, Plaintiffs filed:

                    Declaration of Mark Meuser (“Meuser Declaration,” Dkt. No. 8-2);
                    Declaration of Wendy Gish (“Gish Declaration,” Dkt. No. 8-3);
                    Declaration of James Moffatt (“Moffatt Declaration,” Dkt. No. 8-4);
                    Declaration of Patrick Scales (“Scales Declaration,” Dkt. No. 8-5);
                    Declaration of Brenda Wood (“Wood Declaration,” Dkt. No. 8-6);

          Defendants opposed the Request on April 17, 2020. (“State Opposition,” Dkt. No. 13;
  “Riverside Opposition,” Dkt. No. 15; “San Bernardino Opposition,” Dkt. No. 18.) In support
  of the State Opposition, State Defendants filed the Declaration of Todd Grabarsky. (Grabarsky
  Declaration,” Dkt. No. 13-1.) In support of the Riverside Opposition, Riverside Defendants
  filed:
               Request for Judicial Notice (“Riverside RJN,” Dkt. No. 15-1);
               Jason Anderson (“Anderson Declaration,” Dkt. No. 15-2);
               Declaration of Kelly A. Moran, (“Moran Declaration,” Dkt. No. 15-3);
               Declaration of Dr. Cameron Kaiser (“Kaiser Declaration,” Dkt. No. 15-4.)

  In support of the San Bernardino Opposition, San Bernardino Defendants filed a request for
  judicial notice. (“San Bernardino RJN,” Dkt. No. 18-1.) The Court held a telephonic hearing on
  April 22, 2020.

                              II.   REQUESTS FOR JUDICIAL NOTICE

          Riverside Defendants and San Bernardino Defendants separately submit unopposed
  requests for judicial notice. (See Riverside RJN; San Bernardino RJN.) A court may take judicial
  notice of an adjudicative fact not subject to “reasonable dispute,” either because it is “generally
  known within the territorial jurisdiction of the trial court,” or it is capable of accurate and ready
  determination by resort to sources whose “accuracy cannot reasonably be questioned.” Fed. R.
  Evid. 201. Under Federal Rule of Evidence 201, “[a] court must take judicial notice if a party
  requests it and the court is supplied with the necessary information.” Fed. R. Evid. 201(c)(2).

          Judicial notice is appropriate here. The documents at issue are publicly available and not
  subject to reasonable dispute. Moreover, Defendants request only that the Court take judicial
  notice of the contents of the documents, not of the truth of those contents. Accordingly, the
  Court GRANTS the Riverside RJN and the San Bernardino RJN.

                                              III. FACTS

          On December 31, 2019, China reported incidents of a pneumonia of unknown cause

   Page 2 of 9                         CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk iv


                                         Exhibit 2, page 2 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 34 of 167 Page ID
                                    #:512
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 3 of 9 Page ID #:1019



   to the World Health Organization. Since then, that infectious disease, which came to be known
  as coronavirus disease 2019 (COVID-19), has swept the globe, infecting millions and killing
  nearly two hundred thousand people.1

          Defendant Newsom, the Governor of California, declared a State of Emergency in
  California on March 4, 2020. (Complaint ¶ 30; Grabarsky Declaration, Exhibit 1.) On March 19,
  2020, the Defendant Newsom issued Executive Order N-33-20, which directed all California
  residents to heed the State’s public health directives relating to COVID-19, including the March
  19, 2020 Order of the State Public Health Officer (“State Order”). (Complaint ¶ 31; Grabarsky
  Declaration, Exhibit 3.) The State Order requires “all individuals living in the State of California
  to stay home or at their place of residence except as needed to maintain continuity of operations
  of the federal critical infrastructure sectors.” (Grabarsky Declaration, Exhibit 3.) On March 22,
  2020, the Public Health Officer designated a list of “Essential Critical Infrastructure Workers,”
  including “[f]aith based services that are provided through streaming or other technology.”
  (Grabarsky Declaration, Exhibit 4.)

          Defendant Kaiser, Riverside County’s Public Health Officer, issued a Declaration of
  Local Health Emergency in Riverside County on March 8, 2020. (Kaiser Declaration ¶ 10.) On
  April 6, 2020, Defendants Kaiser and Johnson issued an Amended Order of the Health Officer
  for the County of Riverside and of the County Executive Officer as Director of Emergency
  Services (“Riverside Order”). (Complaint ¶ 62; Kaiser Declaration ¶ 10, Exhibit I.) The
  Riverside Order prohibits “[a]ll public or private gatherings . . . including, but not limited to an
  auditorium, . . . church, . . . or any other indoor or outdoor space used for any non-essential
  purpose including, but not limited to . . . church . . . .” (Complaint ¶ 63; Kaiser Declaration,
  Exhibit I.) Consistent with the State Order, the Riverside Order exempts essential business,
  including “courts of law, medical providers . . . daycare and child care . . . [and] necessary
  shopping at fuel stations, stores or malls,” provided that a “state and federal guidelines for
  infection control” are observed. (Complaint ¶ 64; Kaiser Declaration Exhibit I.)

          The County of San Bernardino Board of Supervisors declared a Local Health Emergency
  in San Bernardino County on March 10, 2020. (San Bernardino RJN, Exhibits F and G.) On
  April 7, 2020, Defendant Gustafson, the San Bernardino Health Officer, signed the Order of the
  Health Officer of the County of San Bernardino for the Control of COVID-19 (“San Bernardino
  Order”). (Complaint ¶ 36; San Bernardino RJN, Exhibit I.) The San Bernardino Order
  “allow[s] faith based services that are provided through streaming or other technology, while
  individuals remain in their homes, but does not allow individuals to leave their home for driving
  parades or drive-up services, or for picking up non-essential items.” (Complaint ¶ 37; San
  Bernardino RJN, Exhibit I.)


  1
    World Health Organization, Coronavirus Disease 2019 Situation Report, April 23, 2020
  https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200423-sitrep-94-
  covid-19.pdf?sfvrsn=b8304bf0_4


      Page 3 of 9                    CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv


                                       Exhibit 2, page 3 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 35 of 167 Page ID
                                    #:513
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 4 of 9 Page ID #:1020



                                      IV. LEGAL STANDARD

          The purpose of a temporary restraining order is to preserve the status quo and prevent
  irreparable harm until a hearing may be held on the propriety of a preliminary injunction. See
  Reno Air Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006). The standard for
  issuing a temporary restraining order is identical to the standard for issuing a preliminary
  injunction. Lockheed Missile & Space Co. v. Hughes Aircraft Co., 887 F. Supp. 1320, 1323
  (N.D. Cal. 1995); see Stuhlbarg Intern. Sales Co., Inc. v. John D. Brushy and Co., Inc., 240 F.3d
  832, 839 n.7 (9th Cir. 2011).

           “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on
  the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
  balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.
  Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The Ninth Circuit employs the “serious
  questions” test, which states “‘serious questions going to the merits’ and a balance of hardships
  that tips sharply towards the plaintiff can support issuance of a preliminary injunction, so long as
  the plaintiff also shows that there is a likelihood of irreparable injury and that the injunction is in
  the public interest.” Alliance for Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).
  “A preliminary injunction is an ‘extraordinary and drastic remedy.’ It should never be awarded
  as of right.” Munaf v. Geren, 553 U.S. 674, 690 (2008) (citation omitted). When seeking a
  temporary restraining order through an ex parte application, a plaintiff must further show that he
  is without fault in creating the crisis necessitating the bypass of regular motion procedures. See
  Mission Power Eng’g Co. v. Cont’l Gas Co., 883 F. Supp. 488, 492–93 (C.D. Cal. 1995). The
  propriety of a temporary restraining order, in particular, hinges on a significant threat of
  irreparable injury, Simula, Inc. Autoliv, Inc., 175 F.3d 716, 725 (9th Cir. 1999), that must be
  imminent in nature, Caribbean Marine Serv. Co. v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988).

                                          V.    DISCUSSION

          Plaintiffs request that the Court enjoin enforcement of the State Order, Riverside Order,
  and San Bernardino Order (collectively, “Orders”) to “Plaintiffs’ engagement in religious
  services, practices, or activities at which the Center for Disease Control’s social distancing
  guidelines are followed.” (Request at 24.) To succeed, Plaintiffs must demonstrate that they
  are likely to succeed on their claims that the Orders violate their constitutional rights and
  demonstrate that the other factors weigh in favor of granting the temporary restraining order.

  A. Success on the Merits or Serious Questions

           Plaintiffs assert that the Orders violate their constitutionally protected rights, including
  their right to the free exercise of religion. (Request at 9–21.) In response, Defendants argue that
  Plaintiffs will not succeed on their constitutional claims for two reasons: First, as acts of the
  executive in response to a national emergency, the Orders are subject to only minimal scrutiny,




   Page 4 of 9                        CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk iv


                                        Exhibit 2, page 4 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 36 of 167 Page ID
                                    #:514
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 5 of 9 Page ID #:1021



  which they easily survive.2 (State Opposition at 7–14.) Second, even absent consideration of
  greater leeway afforded to executive acts during a state of emergency, the Orders do not violate
  Plaintiffs’ rights under traditional constitutional analysis. (State Opposition at 14–19; Riverside
  Opposition at 16–34; San Bernardino Opposition at 11–17.)

      1. Exercise of Executive Powers During State of Emergency

          State Defendants argue that because the Orders are temporary executive actions taken in
  response to a national emergency, they are entitled to substantial judicial deference and not
  subject to traditional constitutional scrutiny. (State Opposition at 7–14.) The Court agrees:
  Defendants have a right to protect California residents from the spread of COVID-19—even if
  those protections temporarily burden constitutional rights to a greater degree than normally
  permissible.

           The Supreme Court held over a century ago that “a community has the right to protect
  itself against an epidemic of disease which threatens the safety of its members.” Jacobson v.
  Commonwealth of Massachusetts, 197 U.S. 11, 27 (1905). The COVID-19 pandemic threatens
  the lives of all Californians: indeed, nearly 1,500 have already died.3 The virus has proven to be
  extremely contagious—it is airborne and can linger on surfaces for days.4 Because asymptomatic
  and pre-symptomatic carriers of the virus can infect others, a belief that one “has never had or
  contracted the coronavirus . . . been at any time exposed to the danger of contracting it . . . and
  has never been in close proximity to any locality where said coronavirus has or have existed” is
  largely meaningless. (See Complaint ¶¶ 58, 79.) Anyone could be an unknowing, undetectable
  vector for the virus at any time. For these reasons, government and health officials have
  struggled to contain the virus. Without a vaccine, measures limiting physical contact between
  citizens, such as the Orders, are widely recognized as the only way to effectively slow the spread
  of the virus.

          Undoubtedly, the Orders—and the similar orders in effect around the country—restrict
  the rights and freedoms normally enjoyed by citizens. The residents of California are confined to
  their homes, unable to gather with friends and family, unable to attend political rallies, unable to
  enjoy art and recreation, and largely unable to work or go to school. The Orders also prevent
  Plaintiffs (and all other California residents) from gathering for in-person worship or laying hands
  upon each other. Because Plaintiffs’ religious beliefs compel them to do these things, the Orders

          2
           Although only the State Defendants advance this argument, the Court will apply it to all
  three orders.
          3
          Tracking Coronavirus in California, Los Angeles Times
  https://www.latimes.com/projects/california-coronavirus-cases-tracking-outbreak/ (last
  accessed April 23, 2020.)
          4
          Neeltje van Doremalen, Ph.D., et al., Aerosol and Surface Stability of SARS-CoV-2 as
  Compared with SARS-CoV-1, N. England J. Med. 2020; 382:1564-1567
  https://www.nejm.org/doi/full/10.1056/NEJMc2004973 (last accessed April 23, 2020.)

   Page 5 of 9                       CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv


                                       Exhibit 2, page 5 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 37 of 167 Page ID
                                    #:515
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 6 of 9 Page ID #:1022



  do burden Plaintiffs’ unrestrained exercise of their religion. But the Constitution does not
  guarantee “an absolute right in each person to be, at all times and in all circumstances, wholly
  freed from restraint.” Jacobson, 197 U.S. at 26. Indeed, “[t]he right to practice religion freely
  does not include liberty to expose the community . . . to communicable disease.” Prince v.
  Massachusetts, 321 U.S. 158, 166–67 (1944).

           Recognizing that the need to protect the public may trump individual rights during a
  crisis, the Supreme Court has held that states and municipalities have greater leeway to burden
  constitutionally protected rights during public emergencies:

          In every well-ordered society charged with the duty of conserving the safety of its
          members the rights of the individual in respect of his liberty may at times, under
          the pressure of great dangers, be subjected to such restraint, to be enforced by
          reasonable regulations, as the safety of the general public may demand.

  Jacobson, 197 U.S. at 29; see also United States v. Caltex, 344 U.S. 149 (1952) (acknowledging
  that “in times of imminent peril—such as when fire threatened a whole community—the
  sovereign could, with immunity, destroy the property of a few that the property of many and the
  lives of many more could be saved”). When responding to the COVID-19 pandemic, therefore,
  Defendants “may implement emergency measures that curtail constitutional rights so long as the
  measures have at least some ‘real or substantial relation’ to the public health crisis and are not
  ‘beyond all question, a plain, palpable invasion of rights secured by the fundamental law.’” In re
  Abbott, 2020 WL 1685929, at *7 (5th Cir. Apr. 7, 2020) (quoting Jacobson, 197 U.S. at 31). In
  other words, during an emergency, traditional constitutional scrutiny does not apply. Instead,
  any measures that limit or suspend constitutional rights (1) must have a “real or substantial
  relation” to the crisis and (2) must not represent “plain, palpable” invasions of clearly protected
  rights. Jacobson, 197 U.S. at 31.

           The Orders easily meet that test. First, they have a substantial relation to the COVID-19
  crisis: they require the physical distancing that is needed to slow the spread of the virus. Second,
  there is no “plain, palpable invasion” of Plaintiffs’ free exercise of religion. While Plaintiffs are
  unable to gather together in-person, they are free to gather virtually or over the phone. They are
  also free to gather in-person with the members of their household. They remain free to practice
  their religion in whatever way they see fit so long as they remain within the confines of their own
  homes. Although physical contact with others is curtailed, a wide swath of religious expression
  remains untouched by the Orders. The Orders, therefore, do not represent a plain or palpable
  invasion of the general right to free exercise of religion. Accordingly, the Orders are likely a
  permissible exercise of executive authority during a national emergency.

      2. Traditional Constitutional Analysis

          Because the Orders survive the minimal scrutiny required where executive action taken in
  response to an emergency, the Court need not determine whether the Orders likewise survive
  traditional constitutional analysis. But they do: the Request must also be denied because the

   Page 6 of 9                       CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv


                                       Exhibit 2, page 6 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 38 of 167 Page ID
                                     #:516
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 7 of 9 Page ID #:1023



 Orders likely do not impermissibly infringe on Plaintiffs’ constitutional rights even when
 applying the traditional constitutional scrutiny.

                a. Free Exercise of Religion

            Plaintiffs argue that the Orders target religion and must therefore be subjected to a strict
 scrutiny analysis. (Request at 9–11.) Defendants respond that the Orders are neutral and
 generally applicable and therefore only rational basis review applies. (State Opposition 15–16;
 Riverside Opposition at 16–19; San Bernardino Opposition at 11–13.) “In assessing neutrality
 and general applicability, courts evaluate both ‘the text of the challenged law as well as the effect
 . . . in its real operation.” Parents for Privacy v. Barr, 949 F.3d 1210, 1234 (9th Cir. 2020).

         The Orders are neutral on their faces: they “make no reference to any religious practice,
 conduct, belief, or motivation.” Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1076 (9th Cir. 2015).
 While they do list faith-based gatherings as a type of in-person gathering that is prohibited, faith-
 based gatherings are referenced as an example—they are not the target of the Orders. (See e.g.,
 Kaiser Declaration Exhibit I (prohibiting all gatherings including those for “church”).) Facial
 neutrality does not require freedom from any mention of religion, instead “the minimum
 requirement of neutrality is that a law not discriminate on its face.” Church of the Lukumi Babalu
 Aye, Inc. v. City of Hialeah, 508 U.S. 520, 533 (1993) (emphasis added). Because the orders
 apply to both religious and secular gatherings, they do not discriminate, and are therefore facially
 neutral.

         The Orders are also neutral in operation: they apply to both religious and secular conduct
 and do not “substantially underinclude nonreligiously motivated conduct that might endanger
 the same governmental interest that the law is designed to protect.” See Stormans, 794 F.3d at
 1079. The Supreme Court has long recognized that “[o]fficial action that targets religious
 conduct for distinctive treatment cannot be shielded by mere compliance with the requirement of
 facial neutrality.” Church of the Lukumi Babalu Aye, 508 U.S. at 534. Plaintiffs have presented
 no evidence that the Orders target religious conduct over secular conduct. And a review of the
 Orders demonstrates that both secular and religious conduct are prohibited equally. The
 majority of the prohibited conduct is secular: schools are closed, restaurants are shuttered,
 concerts and sporting events are canceled; citizens cannot visit public recreation spaces or gather
 with friends who live outside of their household; non-essential workers fortunate enough to still
 have jobs must work from home. Far from singling out religious conduct for additional
 restrictions, the State Order identifies workers preparing religious videoconferences as essential
 workers—an exception that facilitates religious conduct. Similar exceptions have not been made
 for sports, concerts, or non-essential work events. The Orders, therefore, are not restrictions
 against religion in disguise. They are generally applicable restrictions on gatherings of all kinds.

         Plaintiffs argue that the Orders are underinclusive of secular activities that may also
 contribute to the spread of COVID-19 because they allow grocery stores, fast food restaurants,
 and marijuana dispensaries to remain open. (Request at 10.) But these are all essential services:
 without access to the food and medicines sold at these locations, more citizens would become ill
 or die. And despite social distancing the virus is spreading at these locations—grocery store
  Page 7 of 9                        CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv


                                        Exhibit 2, page 7 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 39 of 167 Page ID
                                    #:517
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 8 of 9 Page ID #:1024



  employees are falling ill and dying.5 If the state applies the same rules to in-person religious
  gatherings as it does to grocery stores, people will get sick and die from attending religious
  gatherings just as they are dying from working in grocery stores.

          Moreover, because the risk of transmission increases with every out-of-home contact, it is
  necessary to suspend non-essential activities so that essential functions can be less dangerous.
  Many older and immunocompromised people must leave their homes to purchase food and
  medicine. Grocery store employees, food preparers, delivery drivers, pharmacists, and other
  essential workers must go to work to ensure that California residents have what they need to
  survive. These individuals risk contracting the virus when performing these essential tasks. If
  those that they encounter engage in non-essential contacts, the risk of transmission increases.
  But if everyone limits their out-of-home contacts to only essential tasks, the risk decreases.
  When we all reduce our contacts to the minimum possible level, the rates of transmission go
  down. In sum, Californians need to stay home whenever possible to protect those who cannot.

           Finally, as Defendants argued at the hearing, constitutional analysis only requires that the
  Court compare the prohibited religious conduct with analogous secular conduct when assessing
  underinclusivity. See Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1079 (9th Cir. 2015) (holding
  that a law is only fatally underinclusive if it prohibits religious conduct but not “comparable
  secular conduct”). An in-person religious gathering is not analogous to picking up groceries,
  food, or medicine, where people enter a building quickly, do not engage directly with others
  except at points of sale, and leave once the task is complete. Instead, it is more analogous to
  attending school or a concert—activities where people sit together in an enclosed space to share a
  communal experience. Those activities are prohibited under the Orders. Because the Orders
  treat in-person religious gatherings the same as they treat secular in-person communal activities,
  they are generally applicable.

          Because the Orders are facially neutral and generally applicable, they are subject to
  rational basis review. Stormans, Inc., 794 F.3d at 1075–76. And they easily survive rational basis:
  the social distancing measures implemented by the Order are rationally related to slowing the
  spread of COVID-19—a state interest that is not only legitimate but compelling. Accordingly,
  the Orders likely do not violate the Free Exercise Clause.

                 b. Establishment of Religion

          A government action violates the Establishment Clause if it lacks a “secular legislative
  purpose” or endorses religion. Lemon v. Kurtzman, 403 U.S. 602, 612–13 (1971); see also Trunk
  v. City of San Diego, 629 F.3d 1099, 1106 (9th Cir. 2011) (noting that “the Supreme Court

          5
           Dalvin Brown, COVID-19 Claims Lives of 30 Grocery Store Workers, Thousands More May
  Have It, Union Says, USA Today,
  https://www.usatoday.com/story/money/2020/04/14/coronavirus-claims-lives-30-grocery-
  store-workers-union-says/2987754001/ (last accessed April 23, 2020.)
  (continued . . . )
   Page 8 of 9                       CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk iv


                                       Exhibit 2, page 8 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 40 of 167 Page ID
                                    #:518
Case 5:20-cv-00755-JGB-KK Document 51 Filed 04/23/20 Page 9 of 9 Page ID #:1025



  essentially has collapsed the[] last two prongs [of the test articulated in Lemon] to ask whether
  the challenged governmental practice has the effect of endorsing religion.”) The Orders do
  neither. First, they serve the important secular purpose of slowing the spread of COVID-19.
  Second, they do not endorse any religion: the order bans gatherings for all religions along with
  secular gatherings.6 Accordingly, the Orders likely do not violate the Establishment Clause.

                 c. Other Alleged Constitutional Violations

         Plaintiffs make several other claims for violations of their rights under the U.S. and
  California Constitutions. (Request at 12–20.) Each of these, however, is premised on Plaintiffs’
  argument that the Orders impermissibly restrict their religious exercise. (See, e.g., Request at 13
  (arguing that the Orders are an unconstitutional prior restraint on speech because religious
  worship is protected speech).) Because the Court concludes that the Orders do not
  impermissibly restrict Plaintiffs’ free exercise of religion, Plaintiffs’ other claims likely fail as
  well.

  B. Remaining TRO Factors

          Defendants have shown that because the Orders are likely a proper exercise of executive
  authority in a state of emergency they are entitled to enhanced deference, even where they
  infringe on typically protected rights. Moreover, even applying a traditional constitutional
  analysis, Plaintiffs’ claims are unlikely to succeed. Accordingly, Plaintiffs are not likely to
  succeed on the merits of their claims, and the Court need not consider the remaining factors.

                                        VI.    CONCLUSION

         For the reasons above, the Court DENIES Plaintiffs’ Request.



  IT IS SO ORDERED.




          6
           Plaintiffs argue that special accommodations were made by the Riverside Defendants
  and the San Bernardino Defendants for Christians celebrating Easter. (Request at 2.) However,
  they do not seek to enjoin enforcement of any Easter exception. And they could not: Easter has
  passed. Accordingly, the Court need not determine whether the Easter exceptions violated the
  Establishment Clause.

   Page 9 of 9                       CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk iv


                                       Exhibit 2, page 9 of 9
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 41 of 167 Page ID
                                   #:519
     Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 42 of 167 Page ID
                                        #:520
SUBJECT IN FOCUS: Origin of the severe acute respiratory syndrome coronavirus-2
(SARS-CoV-2), the virus causing COVID-19

The first human cases of COVID-19, the disease caused by the novel coronavirus causing COVID-19, subsequently
named SARS-CoV-2 were first reported by officials in Wuhan City, China, in December 2019. Retrospective
investigations by Chinese authorities have identified human cases with onset of symptoms in early December 2019.
While some of the earliest known cases had a link to a wholesale food market in Wuhan, some did not. Many of the
initial patients were either stall owners, market employees, or regular visitors to this market. Environmental samples
taken from this market in December 2019 tested positive for SARS-CoV-2, further suggesting that the market in
Wuhan City was the source of this outbreak or played a role in the initial amplification of the outbreak. The market
was closed on 1 January 2020.

SARS-CoV-2 was identified in early January and its genetic sequence shared publicly on 11-12 January. The full
genetic sequence of SARS-CoV-2 from the early human cases and the sequences of many other virus isolated from
human cases from China and all over the world since then show that SARS-CoV-2 has an ecological origin in bat
populations. All available evidence to date suggests that the virus has a natural animal origin and is not a
manipulated or constructed virus. Many researchers have been able to look at the genomic features of SARS-CoV-2
and have found that evidence does not support that SARS-CoV-2 is a laboratory construct. If it were a constructed
virus, its genomic sequence would show a mix of known elements. This is not the case.

Another coronavirus, SARS-CoV-1, the cause of the Severe Acute Respiratory Syndrome (SARS) outbreak in 2003, was
also closely related to other coronaviruses isolated from bats. These close genetic relations of SARS-CoV-1, SARS-
CoV-2 and other coronaviruses, suggest that they all have their ecological origin in bat populations. Many of these
coronaviruses can also infect several animal species. For example, SARS-CoV-1 infected civet cats and then humans,
while the virus causing the Middle East Respiratory Syndrome (MERS-CoV) is found in dromedary camels, and has
continued to infect humans since 2012.

All available evidence for COVID-19 suggests that SARS-CoV-2 has a zoonotic source. Since there is usually limited
close contact between humans and bats, it is more likely that transmission of the virus to humans happened through
another animal species, one that is more likely to be handled by humans. This intermediate animal host or zoonotic
source could be a domestic animal, a wild animal, or a domesticated wild animal and, as of yet, has not been
identified.

All the published genetic sequences of SARS-CoV-2 isolated from human cases are very similar. This suggests that the
start of the outbreak resulted from a single point introduction in the human population around the time that the
virus was first reported in humans in Wuhan, China in December 2019.

A number of investigations to better understand the source of the outbreak in China are currently underway or
planned, including investigations of human cases with symptom onset in and around Wuhan in late 2019,
environmental sampling from markets and farms in areas where the first human cases were identified, and detailed
records on the source and type of wildlife species and farmed animals sold in these markets.

Results from these studies are essential to preventing further zoonotic introductions of SARS-CoV-2 into the human
population. WHO continues to collaborate with animal health and human health experts, Member States, and other
partners to identify gaps and research priorities for the control of COVID-19, including the eventual identification of
the source of the virus in China.




                                              Exhibit 3, page 2 of 12
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 43 of 167 Page ID
                                   #:521
   Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 44 of 167 Page ID
                                      #:522
                                                            Community
Netherlands           34842   708      4054      138       transmission      0
                                                            Community
Switzerland           28186   205      1216      30        transmission      0
Portugal              21982   603      785       23           Pending        0
Ireland               16671   631      769       39           Pending        0
Sweden                16004   682      1937      172          Pending        0
Austria               14924   91       494       31           Pending        0
Israel                14498   556      189        5           Pending        0
Poland                10169   313      426       25           Pending        0
                                                            Community
Romania               9710    468       508      25        transmission      0
Denmark               7912    217       384      14           Pending        0
                                                            Community
Belarus               7281    558       60        5        transmission      0
Norway                7250    84        169       6           Pending        0
                                                            Community
Ukraine               7170    578       187      13        transmission      0
                                                            Community
Czechia               7136    95        210       9        transmission      0
Serbia                7114    224       134       4           Pending        0
Finland               4129    115       149       8           Pending        0
Luxembourg            3654    36        80        2           Pending        0
Republic of Moldova   2778    137       76        3           Pending        0
Greece                2408     7        121       0           Pending        0
Hungary               2284    116       225       0      Clusters of cases   0
Kazakhstan            2025    30        19        0           Pending        0
Croatia               1950    42        48        0           Pending        0
                                                            Community
Iceland               1785    7         10        0        transmission      0
Uzbekistan            1716    59         7        1      Clusters of cases   0
Estonia               1559    7         44        1           Pending        0
Azerbaijan            1518    38        20        0      Clusters of cases   0
Armenia               1473    96        24        0      Clusters of cases   0
Lithuania             1398    28        38        0           Pending        0
Bosnia and                                                  Community
Herzegovina           1367    27        52        2        transmission      0
                                                            Community
Slovenia              1353    13        79        2        transmission      0
North Macedonia       1259    28        56        1      Clusters of cases   0
Slovakia              1244    45        14        0      Clusters of cases   0
Bulgaria              1024    49        49        4           Pending        0
Cyprus                790     6         17        0      Clusters of cases   0
Latvia                761     13        11        2           Pending        0
                                                            Community
Andorra               724     1         37        0        transmission      0
Albania               634     0         27        1      Clusters of cases   1
Kyrgyzstan            631     19         8        1           Pending        0
                                                            Community
San Marino            488     12        40        0        transmission      0
Malta                 444     1          3        0           Pending        0

                               Exhibit 3, page 4 of 12
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 45 of 167 Page ID
                                   #:523
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 46 of 167 Page ID
                                   #:524
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 47 of 167 Page ID
                                   #:525
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 48 of 167 Page ID
                                   #:526
      Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 49 of 167 Page ID
                                         #:527




Terms:
 - No cases: Countries/territories/areas with no confirmed cases (not shown in table)
 - Sporadic cases: Countries/territories/areas with one or more cases, imported or locally detected
 - Clusters of cases: Countries/territories/areas experiencing cases, clustered in time, geographic location and/or by common exposures
 - Community transmission: Countries/area/territories experiencing larger outbreaks of local transmission defined through an assessment of
   factors including, but not limited to:
        - Large numbers of cases not linkable to transmission chains
        - Large numbers of cases from sentinel lab surveillance
        - Multiple unrelated clusters in several areas of the country/territory/area

** “Territories” include territories, areas, overseas dependencies and other jurisdictions of similar status
[1] All references to Kosovo should be understood to be in the context of the United Nations Security Council resolution 1244 (1999).

†† As the international conveyance (Diamond Princess) is no longer occupied, transmission classification cannot be applied.


Due to differences in reporting methods, retrospective data consolidation, and reporting delays, the number of new cases may not always
reflect the exact difference between yesterday’s and today’s totals. WHO COVID-19 Situation Reports present official counts of confirmed
COVID-19 cases, thus differences between WHO reports and other sources of COVID-19 data using different inclusion criteria and different
data cutoff times are to be expected.




Figure 4. Epidemic curve of confirmed COVID-19, by date of report and WHO region through 23 April 2020




                                                       Exhibit 3, page 9 of 12
       Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 50 of 167 Page ID
                                          #:528


    STRATEGIC OBJECTIVES

    WHO’s strategic objectives for this response are to:

        •   Interrupt human-to-human transmission including reducing secondary infections among close contacts
            and health care workers, preventing transmission amplification events, and preventing further
            international spread*;
        •   Identify, isolate and care for patients early, including providing optimized care for infected patients;
        •   Identify and reduce transmission from the animal source;
        •   Address crucial unknowns regarding clinical severity, extent of transmission and infection, treatment
            options, and accelerate the development of diagnostics, therapeutics and vaccines;
        •   Communicate critical risk and event information to all communities and counter misinformation;
        •   Minimize social and economic impact through multisectoral partnerships.

    *This can be achieved through a combination of public health measures, such as rapid identification, diagnosis
    and management of the cases, identification and follow up of the contacts, infection prevention and control in
    health care settings, implementation of health measures for travelers, awareness-raising in the population and
    risk communication.




PREPAREDNESS AND RESPONSE
•     To view all technical guidance documents regarding COVID-19, please go to this webpage.
•     WHO has developed interim guidance for laboratory diagnosis, advice on the use of masks during home care and
      in health care settings in the context of COVID-19 outbreak, clinical management, infection prevention and
      control in health care settings, home care for patients with suspected novel coronavirus, risk communication and
      community engagement and Global Surveillance for human infection with COVID-19.
•     WHO is working closely with International Air Transport Association (IATA) and have jointly developed a
      guidance document to provide advice to cabin crew and airport workers, based on country queries. The
      guidance can be found on the IATA webpage.
•     WHO has been in regular and direct contact with Member States where cases have been reported. WHO is also
      informing other countries about the situation and providing support as requested.
•     WHO is working with its networks of researchers and other experts to coordinate global work on surveillance,
      epidemiology, mathematical modelling, diagnostics and virology, clinical care and treatment, infection
      prevention and control, and risk communication. WHO has issued interim guidance for countries, which are
      updated regularly.
•     WHO has prepared a disease commodity package that includes an essential list of biomedical equipment,
      medicines and supplies necessary to care for patients with COVID-19.
•     WHO has provided recommendations to reduce risk of transmission from animals to humans.
•     WHO has published an updated recommendations for international traffic in relation to COVID-19 outbreak .
•     WHO has activated the R&D blueprint to accelerate diagnostics, vaccines, and therapeutics.
•     OpenWHO is an interactive, web-based, knowledge-transfer platform offering online courses to improve the
      response to health emergencies. COVID-19 courses can be found here and courses in additional national
      languages here. Specifically, WHO has developed online courses on the following topics:
          o Introduction to Go.Data – Field data collection, chains of transmission and contact follow-up. The
               Go.Data tool is available globally to WHO staff, member states and partners to support outbreak
               investigation, focusing on field data collection, contact tracing and visualisation of chains of
               transmission.


                                              Exhibit 3, page 10 of 12
     Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 51 of 167 Page ID
                                        #:529
        o   A general introduction to emerging respiratory viruses, including novel coronaviruses (available in
            Arabic, Chinese, English, French, Russian, Spanish, Hindi, Indian Sign Language, Persian, Portuguese,
            Serbian and Turkish);
        o Clinical care for Severe Acute Respiratory Infections (available in English, French, Russian, Indonesian
            and Vietnamese);
        o Health and safety briefing for respiratory diseases - ePROTECT (available in Chinese, English, French,
            Russian, Spanish, Indonesian and Portuguese);
        o Infection Prevention and Control for Novel Coronavirus (COVID-19) (available in Chinese, English, French,
            Russian, Spanish, Indonesian, Italian, Japanese, Portuguese and Serbian); and
        o COVID-19 Operational Planning Guidelines and COVID-19 Partners Platform to support country
            preparedness and response (available in English and coming soon in additional languages).
•   WHO is providing guidance on early investigations, which are critical in an outbreak of a new virus. The data
    collected from the protocols can be used to refine recommendations for surveillance and case definitions, to
    characterize the key epidemiological transmission features of COVID-19, help understand spread, severity,
    spectrum of disease, impact on the community and to inform operational models for implementation of
    countermeasures such as case isolation, contact tracing and isolation. Several protocols are available here. One
    such protocol is for the investigation of early COVID-19 cases and contacts (the “First Few X (FFX) Cases and
    contact investigation protocol for 2019-novel coronavirus (2019-nCoV) infection”). The protocol is designed to
    gain an early understanding of the key clinical, epidemiological and virological characteristics of the first cases of
    COVID-19 infection detected in any individual country, to inform the development and updating of public health
    guidance to manage cases and reduce the potential spread and impact of infection.

RECOMMENDATIONS AND ADVICE FOR THE PUBLIC

If you are not in an area where COVID-19 is spreading or have not travelled from an area where COVID-19 is
spreading or have not been in contact with an infected patient, your risk of infection is low. It is understandable that
you may feel anxious about the outbreak. Get the facts from reliable sources to help you accurately determine your
risks so that you can take reasonable precautions (see Frequently Asked Questions). Seek guidance from WHO, your
healthcare provider, your national public health authority or your employer for accurate information on COVID-19
and whether COVID-19 is circulating where you live. It is important to be informed of the situation and take
appropriate measures to protect yourself and your family (see Protection measures for everyone).

If you are in an area where there are cases of COVID-19 you need to take the risk of infection seriously. Follow the
advice of WHO and guidance issued by national and local health authorities. For most people, COVID-19 infection
will cause mild illness however, it can make some people very ill and, in some people, it can be fatal. Older people,
and those with pre-existing medical conditions (such as cardiovascular disease, chronic respiratory disease or
diabetes) are at risk for severe disease (See Protection measures for persons who are in or have recently visited (past
14 days) areas where COVID-19 is spreading).


CASE DEFINITIONS

WHO periodically updates the Global Surveillance for human infection with coronavirus disease (COVID-19)
document which includes case definitions.

For easy reference, case definitions are included below.

Suspect case
A. A patient with acute respiratory illness (fever and at least one sign/symptom of respiratory disease, e.g., cough,
   shortness of breath), AND a history of travel to or residence in a location reporting community transmission of
                                             Exhibit 3, page 11 of 12
     Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 52 of 167 Page ID
                                        #:530
   COVID-19 disease during the 14 days prior to symptom onset.
   OR
B. A patient with any acute respiratory illness AND having been in contact with a confirmed or probable COVID-19
   case (see definition of contact) in the last 14 days prior to symptom onset;
   OR
C. A patient with severe acute respiratory illness (fever and at least one sign/symptom of respiratory disease, e.g.,
   cough, shortness of breath; AND requiring hospitalization) AND in the absence of an alternative diagnosis that
   fully explains the clinical presentation.

Probable case
A. A suspect case for whom testing for the COVID-19 virus is inconclusive.
       a. Inconclusive being the result of the test reported by the laboratory.
   OR
B. A suspect case for whom testing could not be performed for any reason.

Confirmed case
A person with laboratory confirmation of COVID-19 infection, irrespective of clinical signs and symptoms.
       • Technical guidance for laboratory testing can be found here.

Definition of contact
A contact is a person who experienced any one of the following exposures during the 2 days before and the 14 days
after the onset of symptoms of a probable or confirmed case:
    1. Face-to-face contact with a probable or confirmed case within 1 meter and for more than 15 minutes;
    2. Direct physical contact with a probable or confirmed case;
    3. Direct care for a patient with probable or confirmed COVID-19 disease without using proper personal
        protective equipment1; OR
    4. Other situations as indicated by local risk assessments.

Note: for confirmed asymptomatic cases, the period of contact is measured as the 2 days before through the 14 days
after the date on which the sample was taken which led to confirmation.

Definition of COVID-19 death
COVID-19 death is defined for surveillance purposes as a death resulting from a clinically compatible illness in a
probable or confirmed COVID-19 case, unless there is a clear alternative cause of death that cannot be related to
COVID disease (e.g. trauma). There should be no period of complete recovery between the illness and death.

Further guidance for certification and classification (coding) of COVID-19 as cause of death is available here.




1
  World Health Organization. Infection prevention and control during health care when COVID-19 is suspected
https://www.who.int/publications-detail/infection-prevention-and-control-during-health-care-when-novel-coronavirus-(ncov)-
infection-is-suspected-20200125
                                              Exhibit 3, page 12 of 12
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 53 of 167 Page ID
                                   #:531
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 54 of 167 Page ID
                                   #:532
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 55 of 167 Page ID
                                   #:533
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 56 of 167 Page ID
                                   #:534
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 57 of 167 Page ID
                                   #:535
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 58 of 167 Page ID
                                   #:536
               Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 59 of 167 Page ID
                                                  #:537




                                                       :+2 'LUHFWRU*HQHUDO V RSHQLQJ UHPDUNV DW WKH PHGLD EULHILQJ RQ &29,'   0DUFK 




     :+2 KDV EHHQ DVVHVVLQJ WKLV RXWEUHDN DURXQG WKH FORFN DQG ZH DUH GHHSO\ FRQFHUQHG ERWK E\ WKH DODUPLQJ OHYHOV RI VSUHDG DQG
     VHYHULW\ DQG E\ WKH DODUPLQJ OHYHOV RI LQDFWLRQ

     :H KDYH WKHUHIRUH PDGH WKH DVVHVVPHQW WKDW &29,' FDQ EH FKDUDFWHUL]HG DV D SDQGHPLF

     3DQGHPLF LV QRW D ZRUG WR XVH OLJKWO\ RU FDUHOHVVO\ ,W LV D ZRUG WKDW LI PLVXVHG FDQ FDXVH XQUHDVRQDEOH IHDU RU XQMXVWLILHG
     DFFHSWDQFH WKDW WKH ILJKW LV RYHU OHDGLQJ WR XQQHFHVVDU\ VXIIHULQJ DQG GHDWK

     'HVFULELQJ WKH VLWXDWLRQ DV D SDQGHPLF GRHV QRW FKDQJH :+2¶V DVVHVVPHQW RI WKH WKUHDW SRVHG E\ WKLV YLUXV ,W GRHVQ¶W FKDQJH
     ZKDW :+2 LV GRLQJ DQG LW GRHVQ¶W FKDQJH ZKDW FRXQWULHV VKRXOG GR

     :H KDYH QHYHU EHIRUH VHHQ D SDQGHPLF VSDUNHG E\ D FRURQDYLUXV 7KLV LV WKH ILUVW SDQGHPLF FDXVHG E\ D FRURQDYLUXV

     $QG ZH KDYH QHYHU EHIRUH VHHQ D SDQGHPLF WKDW FDQ EH FRQWUROOHG DW WKH VDPH WLPH

     :+2 KDV EHHQ LQ IXOO UHVSRQVH PRGH VLQFH ZH ZHUH QRWLILHG RI WKH ILUVW FDVHV

     $QG ZH KDYH FDOOHG HYHU\ GD\ IRU FRXQWULHV WR WDNH XUJHQW DQG DJJUHVVLYH DFWLRQ

     :H KDYH UXQJ WKH DODUP EHOO ORXG DQG FOHDU



     $V , VDLG RQ 0RQGD\ MXVW ORRNLQJ DW WKH QXPEHU RI FDVHV DQG WKH QXPEHU RI FRXQWULHV DIIHFWHG GRHV QRW WHOO WKH IXOO VWRU\

     2I WKH  FDVHV UHSRUWHG JOREDOO\ LQ  FRXQWULHV PRUH WKDQ  SHUFHQW RI FDVHV DUH LQ MXVW IRXU FRXQWULHV DQG WZR RI WKRVH ±
     &KLQD DQG WKH 5HSXEOLF RI .RUHD  KDYH VLJQLILFDQWO\ GHFOLQLQJ HSLGHPLFV

      FRXQWULHV KDYH QRW UHSRUWHG DQ\ FDVHV DQG  FRXQWULHV KDYH UHSRUWHG  FDVHV RU OHVV




KWWSVZZZZKRLQWGJVSHHFKHVGHWDLOZKRGLUHFWRUJHQHUDOVRSHQLQJUHPDUNVDWWKHPHGLDEULHILQJRQFRYLGPDUFK                            




                                                                               Exhibit 5, page 2 of 5
               Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 60 of 167 Page ID
                                                  #:538




                                                       :+2 'LUHFWRU*HQHUDO V RSHQLQJ UHPDUNV DW WKH PHGLD EULHILQJ RQ &29,'   0DUFK 




     :H FDQQRW VD\ WKLV ORXGO\ HQRXJK RU FOHDUO\ HQRXJK RU RIWHQ HQRXJK DOO FRXQWULHV FDQ VWLOO FKDQJH WKH FRXUVH RI WKLV SDQGHPLF

     ,I FRXQWULHV GHWHFW WHVW WUHDW LVRODWH WUDFH DQG PRELOL]H WKHLU SHRSOH LQ WKH UHVSRQVH WKRVH ZLWK D KDQGIXO RI FDVHV FDQ SUHYHQW
     WKRVH FDVHV EHFRPLQJ FOXVWHUV DQG WKRVH FOXVWHUV EHFRPLQJ FRPPXQLW\ WUDQVPLVVLRQ

     (YHQ WKRVH FRXQWULHV ZLWK FRPPXQLW\ WUDQVPLVVLRQ RU ODUJH FOXVWHUV FDQ WXUQ WKH WLGH RQ WKLV YLUXV

     6HYHUDO FRXQWULHV KDYH GHPRQVWUDWHG WKDW WKLV YLUXV FDQ EH VXSSUHVVHG DQG FRQWUROOHG

     7KH FKDOOHQJH IRU PDQ\ FRXQWULHV ZKR DUH QRZ GHDOLQJ ZLWK ODUJH FOXVWHUV RU FRPPXQLW\ WUDQVPLVVLRQ LV QRW ZKHWKHU WKH\ FDQ GR
     WKH VDPH ± LW¶V ZKHWKHU WKH\ ZLOO

     6RPH FRXQWULHV DUH VWUXJJOLQJ ZLWK D ODFN RI FDSDFLW\

     6RPH FRXQWULHV DUH VWUXJJOLQJ ZLWK D ODFN RI UHVRXUFHV

     6RPH FRXQWULHV DUH VWUXJJOLQJ ZLWK D ODFN RI UHVROYH

     :H DUH JUDWHIXO IRU WKH PHDVXUHV EHLQJ WDNHQ LQ ,UDQ ,WDO\ DQG WKH 5HSXEOLF RI .RUHD WR VORZ WKH YLUXV DQG FRQWURO WKHLU HSLGHPLFV

     :H NQRZ WKDW WKHVH PHDVXUHV DUH WDNLQJ D KHDY\ WROO RQ VRFLHWLHV DQG HFRQRPLHV MXVW DV WKH\ GLG LQ &KLQD

     $OO FRXQWULHV PXVW VWULNH D ILQH EDODQFH EHWZHHQ SURWHFWLQJ KHDOWK PLQLPL]LQJ HFRQRPLF DQG VRFLDO GLVUXSWLRQ DQG UHVSHFWLQJ
     KXPDQ ULJKWV

     :+2¶V PDQGDWH LV SXEOLF KHDOWK %XW ZH¶UH ZRUNLQJ ZLWK PDQ\ SDUWQHUV DFURVV DOO VHFWRUV WR PLWLJDWH WKH VRFLDO DQG HFRQRPLF
     FRQVHTXHQFHV RI WKLV SDQGHPLF

     7KLV LV QRW MXVW D SXEOLF KHDOWK FULVLV LW LV D FULVLV WKDW ZLOO WRXFK HYHU\ VHFWRU ± VR HYHU\ VHFWRU DQG HYHU\ LQGLYLGXDO PXVW EH LQYROYHG
     LQ WKH ILJKW




KWWSVZZZZKRLQWGJVSHHFKHVGHWDLOZKRGLUHFWRUJHQHUDOVRSHQLQJUHPDUNVDWWKHPHGLDEULHILQJRQFRYLGPDUFK                            




                                                                               Exhibit 5, page 3 of 5
               Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 61 of 167 Page ID
                                                  #:539




                                                       :+2 'LUHFWRU*HQHUDO V RSHQLQJ UHPDUNV DW WKH PHGLD EULHILQJ RQ &29,'   0DUFK 




     , KDYH VDLG IURP WKH EHJLQQLQJ WKDW FRXQWULHV PXVW WDNH D ZKROHRIJRYHUQPHQW ZKROHRIVRFLHW\ DSSURDFK EXLOW DURXQG D
     FRPSUHKHQVLYH VWUDWHJ\ WR SUHYHQW LQIHFWLRQV VDYH OLYHV DQG PLQLPL]H LPSDFW

     /HW PH VXPPDUL]H LW LQ IRXU NH\ DUHDV

     )LUVW SUHSDUH DQG EH UHDG\

     6HFRQG GHWHFW SURWHFW DQG WUHDW

     7KLUG UHGXFH WUDQVPLVVLRQ

     )RXUWK LQQRYDWH DQG OHDUQ

     , UHPLQG DOO FRXQWULHV WKDW ZH DUH FDOOLQJ RQ \RX WR DFWLYDWH DQG VFDOH XS \RXU HPHUJHQF\ UHVSRQVH PHFKDQLVPV

     &RPPXQLFDWH ZLWK \RXU SHRSOH DERXW WKH ULVNV DQG KRZ WKH\ FDQ SURWHFW WKHPVHOYHV ± WKLV LV HYHU\ERG\¶V EXVLQHVV

     )LQG LVRODWH WHVW DQG WUHDW HYHU\ FDVH DQG WUDFH HYHU\ FRQWDFW

     5HDG\ \RXU KRVSLWDOV

     3URWHFW DQG WUDLQ \RXU KHDOWK ZRUNHUV

     $QG OHW¶V DOO ORRN RXW IRU HDFK RWKHU EHFDXVH ZH QHHG HDFK RWKHU



     7KHUH¶V EHHQ VR PXFK DWWHQWLRQ RQ RQH ZRUG

     /HW PH JLYH \RX VRPH RWKHU ZRUGV WKDW PDWWHU PXFK PRUH DQG WKDW DUH PXFK PRUH DFWLRQDEOH




KWWSVZZZZKRLQWGJVSHHFKHVGHWDLOZKRGLUHFWRUJHQHUDOVRSHQLQJUHPDUNVDWWKHPHGLDEULHILQJRQFRYLGPDUFK                            




                                                                               Exhibit 5, page 4 of 5
               Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 62 of 167 Page ID
                                                  #:540




                                                       :+2 'LUHFWRU*HQHUDO V RSHQLQJ UHPDUNV DW WKH PHGLD EULHILQJ RQ &29,'   0DUFK 




     3UHYHQWLRQ

     3UHSDUHGQHVV

     3XEOLF KHDOWK

     3ROLWLFDO OHDGHUVKLS

     $QG PRVW RI DOO SHRSOH

     :H¶UH LQ WKLV WRJHWKHU WR GR WKH ULJKW WKLQJV ZLWK FDOP DQG SURWHFW WKH FLWL]HQV RI WKH ZRUOG ,W¶V GRDEOH

     , WKDQN \RX


        6XEVFULEH WR WKH :+2 QHZVOHWWHU ĺ




KWWSVZZZZKRLQWGJVSHHFKHVGHWDLOZKRGLUHFWRUJHQHUDOVRSHQLQJUHPDUNVDWWKHPHGLDEULHILQJRQFRYLGPDUFK                            




                                                                               Exhibit 5, page 5 of 5
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 63 of 167 Page ID
                                   #:541

                   DECLARATION OF LOCAL HEALTH EMERGENCY


            WHEREAS, California Health and Safety Code section 101080 authorizes a local
     health officer to declare a local health emergency in the health officer's jurisdiction, or
     any part thereof, whenever the health officer reasonably determines that there is an
     imminent and proximate threat of the introduction of any contagious, infectious, or
     communicable disease, chemical agent, noncommunicable biologic agent, toxin, or
    radioactive agent; and
            WHEREAS, the Centers for Disease Control and Prevention (CDC) announced
    on February 25, 2020 that community spread of COVID-19 is likely to occur in the
    United States; and on March 11, 2020, World Health Organization (WHO) declared
    COVID-19 as a pandemic; and
            WHEREAS, three COVID-19 positive travel-related cases have been identified in
    Ventura County and one case of community transmission has been identified in a
    neighboring county; and
            WHEREAS, based on the foregoing, there is an imminent and proximate threat of
    COVID-19 spread in the County of Ventura and a threat to the public health of the
    County residents; and
            WHEREAS, COVID-19 has already demonstrated its deleterious impact on
    human health in other counties in the State of California; and
            WHEREAS, there is neither known specific anti-viral treatment nor immunization
    for COVID-19; and
            WHEREAS, social isolation is considered useful as a tool to control the spread of
    pandemic viral infections; and
            WHEREAS, social isolation is the shared responsibility of a multitude of
    organizations, agencies, businesses, educational sectors and health care providers
    throughout the County; and
            WHEREAS, early and widespread social isolation actions can spare lives;

          NOW, THEREFORE, IT IS HEREBY PROCLAIMED AND ORDERED by
    the Ventura County Health Officer, that a local health emergency exists in the County of
    Ventura and shall be deemed to continue to exist until its termination is proclaimed by
    the Ventura County Board of Supervisors.

    This declaration shall also apply to all public schools in Ventura County allowing for
    their closure as necessary due to this pandemic.




    Dated: 3(!2-/
            r I
                         � 20
                                               A��-- -:e40
                                              Robert Levin, M.D .,         � ·
           O0· ,.....(r- fA./
    Time: --=--------
                   v'J
                                              Ventura County Health Officer




                                     Exhibit 6, page 1 of 1
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 64 of 167 Page ID
                                   #:542
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 65 of 167 Page ID
                                   #:543
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 66 of 167 Page ID
                                   #:544
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 67 of 167 Page ID
                                   #:545



                            EXECUTIVE DEPA RTMENT
                             STATE OF CALIFORNIA


                                 EXECUTIVE ORDER N-33-20

         WHEREAS on March 4, 2020, I proclaimed a State of Emergency to exist in
   California as a result of the threat of COVID 19; and

         WHEREAS in a short period of time, COVID-19 has rapidly spread
   throughout California, necessitating updated and more stringent guidance from
   federal, state, and local public health officials; and

          WHEREAS for the preservation of public health and safety throughout the
   entire State of California, I find it necessary for all Californians to heed the State
   public health directives from the Department of Public Health.

          NOW, THEREFORE, I, GAVIN NEWSOM, Governor of the State of California,
   in accordance with the authority vested in me by the State Constitution and
   statutes of the State of California, and in particular, Government Code sections
   8567, 8627, and 8665 do hereby issue the following Order to become effective
   immediately:

         IT IS HEREBY ORDERED THAT:

         1) To preserve the public health and safety, and to ensure the healthcare
            delivery system is capable of serving all, and prioritizing those at the
            highest risk and vulnerability, all residents are directed to immediately
            heed the current State public health directives, which I ordered the
            Department of Public Health to develop for the current statewide
            status of COVID-19. Those directives are consistent with the March 19,
            2020, Memorandum on Identification of Essential Critical Infrastructure
            Workers During COVID-19 Response, found at: https://covid19.ca.gov/.
            Those directives follow:

                      ORDER OF THE STATE PUBLIC HEALTH OFFICER
                                   March 19, 2020

             To protect public health, I as State Public Health Officer and Director
             of the California Department of Public Health order all individuals living
             in the State of California to stay home or at their place of residence
             except as needed to maintain continuity of operations of the federal
             critical infrastructure sectors, as outlined at
             https://www.cisa.gov/identifying critical-infrastructure-during covid 19.
             In addition, and in consultation with the Director of the Governor's
             Office of Emergency Services, I may designate additional sectors as
             critical in order to protect the health and well-being of all Californians.

              Pursuant to the authority under the Health and Safety Code 120125,
              120140, 131080, 120130(c), 120135, 120145, 120175 and 120150, this
              order is to go into effect immediately and shall stay in effect until
              further notice.

              The federal government has identified 16 critical infrastructure sectors
              whose assets, systems, and networks, whether physical or virtual, are
              considered so vital to the United States that their incapacitation or




                                   Exhibit 8, page 1 of 2
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 68 of 167 Page ID
                                   #:546
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 69 of 167 Page ID
                                   #:547
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 70 of 167 Page ID
                                   #:548




                            Exhibit 9, page 2 of 11
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 71 of 167 Page ID
                                   #:549
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 72 of 167 Page ID
                                   #:550
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 73 of 167 Page ID
                                   #:551
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 74 of 167 Page ID
                                   #:552
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 75 of 167 Page ID
                                   #:553
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 76 of 167 Page ID
                                   #:554
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 77 of 167 Page ID
                                   #:555
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 78 of 167 Page ID
                                   #:556
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 79 of 167 Page ID
                                   #:557
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 80 of 167 Page ID
                                   #:558
                                                                                              March 22, 2020


 On March 19, 2020, Governor Newsom issued Executive Order N-33-20 directing all residents
 immediately to heed current State public health directives to stay home, except as needed to maintain
 continuity of operations of essential critical infrastructure sectors and additional sectors as the State
 Public Health Officer may designate as critical to protect health and well-being of aall Californians.

 In accordance with this order, the State Public Health Officer has designated the following list of
 “Essential Critical Infrastructure Workers” to help state, local, tribal, and industry partners as they work
 to protect communities, while ensuring continuity of functions critical to public health and safety, as
 well as economic and national security.




 HEALTHCARE / PUBLIC HEALTH
 Sector Profile

 The Healthcare and Public Health (HPH) Sector is large, diverse, and open, spanning both the public and
 private sectors. It includes publicly accessible healthcare facilities, research centers, suppliers,
 manufacturers, and other physical assets and vast, complex public-private information technology
 systems required for care delivery and to support the rapid, secure transmission and storage of large
 amounts of HPH data.



 Essential Workforce

 •   Workers providing COVID-19 testing; Workers that perform critical clinical research needed for
     COVID-19 response.
 •   Health care providers and caregivers (e.g., physicians, dentists, psychologists, mid-level
     practitioners, nurses and assistants, infection control and quality assurance personnel, pharmacists,
     physical and occupational therapists and assistants, social workers, speech pathologists and
     diagnostic and therapeutic technicians and technologists).
 •   Hospital and laboratory personnel (including accounting, administrative, admitting and discharge,
     engineering, epidemiological, source plasma and blood donation, food service, housekeeping,
     medical records, information technology and operational technology, nutritionists, sanitarians,
     respiratory therapists, etc.).
 •   Workers in other medical facilities (including Ambulatory Health and Surgical, Blood Banks, Clinics,
     Community Mental Health, Comprehensive Outpatient rehabilitation, End Stage Renal Disease,
     Health Departments, Home Health care, Hospices, Hospitals, Long Term Care, Organ Pharmacies,
     Procurement Organizations, Psychiatric, Residential, Rural Health Clinics and Federally Qualified
     Health Centers, cannabis retailers).
 •   Manufacturers, technicians, logistics and warehouse operators, and distributors of medical
     equipment, personal protective equipment (PPE), medical gases, pharmaceuticals, blood and blood
     products, vaccines, testing materials, laboratory supplies, cleaning, sanitizing, disinfecting or
     sterilization supplies, personal care/hygiene products, and tissue and paper towel products.


                                                                                                                1

                                        Exhibit 10, page 1 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 81 of 167 Page ID
                                   #:559
                                                                                           March 22, 2020


 •   Public health / community health workers, including those who compile, model, analyze and
     communicate public health information.
 •   Behavioral health workers (including mental and substance use disorder) responsible for
     coordination, outreach, engagement, and treatment to individuals in need of mental health and/or
     substance use disorder services.
 •   Blood and plasma donors and the employees of the organizations that operate and manage related
     activities.
 •   Workers that manage health plans, billing, and health information, who cannot practically work
     remotely.
 •   Workers who conduct community-based public health functions, conducting epidemiologic
     surveillance, compiling, analyzing and communicating public health information, who cannot
     practically work remotely.
 •   Workers who provide support to vulnerable populations to ensure their health and well-being
     including family care providers
 •   Workers performing cybersecurity functions at healthcare and public health facilities, who cannot
     practically work remotely.
 •   Workers conducting research critical to COVID-19 response.
 •   Workers performing security, incident management, and emergency operations functions at or on
     behalf of healthcare entities including healthcare coalitions, who cannot practically work remotely.
 •   Workers who support food, shelter, and social services, and other necessities of life for economically
     disadvantaged or otherwise needy individuals, such as those residing in shelters.
 •   Pharmacy employees necessary for filling prescriptions.
 •   Workers performing mortuary services, including funeral homes, crematoriums, and cemetery
     workers.
 •   Workers who coordinate with other organizations to ensure the proper recovery, handling,
     identification, transportation, tracking, storage, and disposal of human remains and personal
     effects; certify cause of death; and facilitate access to behavioral health services to the family
     members, responders, and survivors of an incident.
 •   Workers supporting veterinary hospitals and clinics




 EMERGENCY SERVICES SECTOR
 Sector Profile

 The Emergency Services Sector (ESS) is a community of highly-skilled, trained personnel, along with the
 physical and cyber resources, that provide a wide range of prevention, preparedness, response, and
 recovery services during both day-to-day operations and incident response. The ESS includes
 geographically distributed facilities and equipment in both paid and volunteer capacities organized
 primarily at the federal, state, local, tribal, and territorial levels of government, such as city police
 departments and fire stations, county sheriff’s offices, Department of Defense police and fire
 departments, and town public works departments. The ESS also includes private sector resources, such



                                                                                                             2

                                       Exhibit 10, page 2 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 82 of 167 Page ID
                                   #:560
                                                                                             March 22, 2020


 as industrial fire departments, private security organizations, and private emergency medical services
 providers.



 Essential Workforce - Law Enforcement, Public Safety and First Responders

 •   Including front line and management, personnel include emergency management, law enforcement,
     Emergency Management Systems, fire, and corrections, search and rescue, tactical teams including
     maritime, aviation, and canine units.
 •   Emergency Medical Technicians
 •   Public Safety Answering Points and 911 call center employees
 •   Fusion Center employees
 •   Fire Mitigation Activities
 •   Hazardous material responders and hazardous devices teams, from government and the private
     sector.
 •   Workers – including contracted vendors -- who maintain digital systems infrastructure supporting
     law enforcement and emergency service operations.
 •   Private security, private fire departments, and private emergency medical services personnel.
 •   County workers responding to abuse and neglect of children, elders and dependent adults.
 •   Animal control officers and humane officers



 Essential Workforce - Public Works

 •   Workers who support the operation, inspection, and maintenance of essential dams, locks and
     levees
 •   Workers who support the operation, inspection, and maintenance of essential public works facilities
     and operations, including bridges, water and sewer main breaks, fleet maintenance personnel,
     construction of critical or strategic infrastructure, construction material suppliers, traffic signal
     maintenance, emergency location services for buried utilities, maintenance of digital systems
     infrastructure supporting public works operations, and other emergent issues
 •   Workers such as plumbers, electricians, exterminators, and other service providers who provide
     services that are necessary to maintaining the safety, sanitation, and essential operation of
     residences.
 •   Support, such as road and line clearing, to ensure the availability of needed facilities, transportation,
     energy and communications Support to ensure the effective removal, storage, and disposal of
     residential and commercial solid waste and hazardous waste.




 FOOD AND AGRICULTURE
 Sector Profile



                                                                                                             3

                                        Exhibit 10, page 3 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 83 of 167 Page ID
                                   #:561
                                                                                           March 22, 2020


The Food and Agricultural (FA) Sector is composed of complex production, processing, and delivery
systems and has the capacity to feed people and animals both within and beyond the boundaries of the
United States. Beyond domestic food production, the FA Sector also imports many ingredients and
finished products, leading to a complex web of growers, processors, suppliers, transporters, distributors,
and consumers. This sectors is critical to maintaining and securing our food supply.



Essential Workforce

•   Workers supporting groceries, pharmacies, and other retail that sells food and beverage products,
    including but not limited to Grocery stores, Corner stores and convenience stores, including liquor
    stores that sell food, Farmers’ markets, Food banks, Farm and produce stands, Supermarkets,
    Similar food retail establishments, Big box stores that sell groceries and essentials
•   Restaurant carry-out and quick serve food operations – including food preparation, carry-out and
    delivery food employees
•   Food manufacturer employees and their supplier employees—to include those employed in food
    processing (packers, meat processing, cheese plants, milk plants, produce, etc.) facilities; livestock,
    poultry, seafood slaughter facilities; pet and animal feed processing facilities; human food facilities
    producing by-products for animal food; beverage production facilities; and the production of food
    packaging
•   Farm workers to include those employed in animal food, feed, and ingredient production,
    packaging, and distribution; manufacturing, packaging, and distribution of veterinary drugs; truck
    delivery and transport; farm and fishery labor needed to produce our food supply domestically
•   Farm workers and support service workers to include those who field crops; commodity inspection;
    fuel ethanol facilities; storage facilities; and other agricultural inputs
•   Employees and firms supporting food, feed, and beverage distribution (including curbside
    distribution and deliveries), including warehouse workers, vendor-managed inventory controllers,
    blockchain managers, distribution
•   Workers supporting the sanitation of all food manufacturing processes and operations from
    wholesale to retail
•   Company cafeterias - in-plant cafeterias used to feed employees
•   Workers in food testing labs in private industries and in institutions of higher education
•   Workers essential for assistance programs and government payments
•   Workers supporting cannabis retail and dietary supplement retail
•   Employees of companies engaged in the production of chemicals, medicines, vaccines, and other
    substances used by the food and agriculture industry, including pesticides, herbicides, fertilizers,
    minerals, enrichments, and other agricultural production aids
•   Animal agriculture workers to include those employed in veterinary health; manufacturing and
    distribution of animal medical materials, animal vaccines, animal drugs, feed ingredients, feed, and
    bedding, etc.; transportation of live animals, animal medical materials; transportation of deceased
    animals for disposal; raising of animals for food; animal production operations; slaughter and
    packing plants and associated regulatory and government workforce
•   Workers who support the manufacture and distribution of forest products, including, but not limited
    to timber, paper, and other wood products


                                                                                                         4

                                       Exhibit 10, page 4 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 84 of 167 Page ID
                                   #:562
                                                                                            March 22, 2020


 •   Employees engaged in the manufacture and maintenance of equipment and other infrastructure
     necessary to agricultural production and distribution




 ENERGY
 Sector Profile

 The Energy Sector consists of widely-diverse and geographically-dispersed critical assets and systems
 that are often interdependent of one another. This critical infrastructure is divided into three
 interrelated segments or subsectors—electricity, oil, and natural gas—to include the production,
 refining, storage, and distribution of oil, gas, and electric power, except for hydroelectric and
 commercial nuclear power facilities and pipelines. The Energy Sector supplies fuels to the transportation
 industry, electricity to households and businesses, and other sources of energy that are integral to
 growth and production across the Nation. In turn, it depends on the Nation’s transportation,
 information technology, communications, finance, water, and government infrastructures.



 Essential Workforce - Electricity industry:

 •   Workers who maintain, ensure, or restore the generation, transmission, and distribution of electric
     power, including call centers, utility workers, reliability engineers and fleet maintenance technicians
 •   Workers needed for safe and secure operations at nuclear generation
 •   Workers at generation, transmission, and electric blackstart facilities
 •   Workers at Reliability Coordinator (RC), Balancing Authorities (BA), and primary and backup Control
     Centers (CC), including but not limited to independent system operators, regional transmission
     organizations, and balancing authorities
 •   Mutual assistance personnel
 •   IT and OT technology staff – for EMS (Energy Management Systems) and Supervisory Control and
     Data
 •   Acquisition (SCADA) systems, and utility data centers; Cybersecurity engineers; cybersecurity risk
     management
 •   Vegetation management crews and traffic workers who support
 •   Environmental remediation/monitoring technicians
 •   Instrumentation, protection, and control technicians



 Essential Workforce - Petroleum workers:

 •   Petroleum product storage, pipeline, marine transport, terminals, rail transport, road transport
 •   Crude oil storage facilities, pipeline, and marine transport
 •   Petroleum refinery facilities
 •   Petroleum security operations center employees and workers who support emergency response
     services

                                                                                                           5

                                       Exhibit 10, page 5 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 85 of 167 Page ID
                                   #:563
                                                                                            March 22, 2020


 •   Petroleum operations control rooms/centers
 •   Petroleum drilling, extraction, production, processing, refining, terminal operations, transporting,
     and retail for use as end-use fuels or feedstocks for chemical manufacturing
 •   Onshore and offshore operations for maintenance and emergency response
 •   Retail fuel centers such as gas stations and truck stops, and the distribution systems that support
     them.



 Essential Workforce - Natural and propane gas workers:

 •   Natural gas transmission and distribution pipelines, including compressor stations
 •   Underground storage of natural gas
 •   Natural gas processing plants, and those that deal with natural gas liquids
 •   Liquefied Natural Gas (LNG) facilities
 •   Natural gas security operations center, natural gas operations dispatch and control rooms/centers
     natural gas emergency response and customer emergencies, including natural gas leak calls
 •   Drilling, production, processing, refining, and transporting natural gas for use as end-use fuels,
     feedstocks for chemical manufacturing, or use in electricity generation
 •   Propane gas dispatch and control rooms and emergency response and customer emergencies,
     including propane leak calls
 •   Propane gas service maintenance and restoration, including call centers
 •   Processing, refining, and transporting natural liquids, including propane gas, for use as end-use fuels
     or feedstocks for chemical manufacturing
 •   Propane gas storage, transmission, and distribution centers




 WATER AND WASTEWATER
 Sector Profile

 The Water and Wastewater Sector is a complex sector composed of drinking water and wastewater
 infrastructure of varying sizes and ownership types. Multiple governing authorities pertaining to the
 Water and Wastewater Sector provide for public health, environmental protection, and security
 measures, among others.

 Essential Workforce

 Employees needed to operate and maintain drinking water and wastewater/drainage infrastructure,
 including:

 •   Operational staff at water authorities
 •   Operational staff at community water systems
 •   Operational staff at wastewater treatment facilities
 •   Workers repairing water and wastewater conveyances and performing required sampling or
     monitoring

                                                                                                            6

                                       Exhibit 10, page 6 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 86 of 167 Page ID
                                   #:564
                                                                                               March 22, 2020


 •   Operational staff for water distribution and testing
 •   Operational staff at wastewater collection facilities
 •   Operational staff and technical support for SCADA Control systems
 •   Chemical disinfectant suppliers for wastewater and personnel protection
 •   Workers that maintain digital systems infrastructure supporting water and wastewater operations




 TRANSPORTATION AND LOGISTICS
 Sector Profile

 The Transportation Systems Sector consists of seven key subsectors, or modes:

     -   Aviation includes aircraft, air traffic control systems, and airports, heliports, and landing strips.
         Commercial aviation services at civil and joint-use military airports, heliports, and sea plane
         bases. In addition, the aviation mode includes commercial and recreational aircraft (manned
         and unmanned) and a wide-variety of support services, such as aircraft repair stations, fueling
         facilities, navigation aids, and flight schools.

     -   Highway and Motor Carrier encompasses roadway, bridges, and tunnels. Vehicles include trucks,
         including those carrying hazardous materials; other commercial vehicles, including commercial
         motorcoaches and school buses; vehicle and driver licensing systems; taxis, transportation
         services including Transportation Network Companies, and delivery services including Delivery
         Network Companies; traffic management systems; AND cyber systems used for operational
         management.

     -   Maritime Transportation System consists of coastline, ports, waterways, and intermodal
         landside connections that allow the various modes of transportation to move people and goods
         to, from, and on the water.

     -   Mass Transit and Passenger Rail includes terminals, operational systems, and supporting
         infrastructure for passenger services by transit buses, trolleybuses, monorail, heavy rail—also
         known as subways or metros—light rail, passenger rail, and vanpool/rideshare.

     -   Pipeline Systems consist of pipelines carrying natural gas hazardous liquids, as well as various
         chemicals. Above-ground assets, such as compressor stations and pumping stations, are also
         included.

     -   Freight Rail consists of major carriers, smaller railroads, active railroad, freight cars, and
         locomotives.

     -   Postal and Shipping includes large integrated carriers, regional and local courier services, mail
         services, mail management firms, and chartered and delivery services.



 Essential Workforce

                                                                                                                 7

                                         Exhibit 10, page 7 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 87 of 167 Page ID
                                   #:565
                                                                                            March 22, 2020


 •   Employees supporting or enabling transportation functions, including dispatchers, maintenance and
     repair technicians, warehouse workers, truck stop and rest area workers, and workers that maintain
     and inspect infrastructure (including those that require cross-border travel)
 •   Employees of firms providing services that enable logistics operations, including cooling, storing,
     packaging, and distributing products for wholesale or retail sale or use.
 •   Mass transit workers
 •   Taxis, transportation services including Transportation Network Companies, and delivery services
     including Delivery Network Companies
 •   Workers responsible for operating dispatching passenger, commuter and freight trains and
     maintaining rail infrastructure and equipment
 •   Maritime transportation workers - port workers, mariners, equipment operators
 •   Truck drivers who haul hazardous and waste materials to support critical infrastructure, capabilities,
     functions, and services
 •   Automotive repair and maintenance facilities
 •   Manufacturers and distributors (to include service centers and related operations) of packaging
     materials, pallets, crates, containers, and other supplies needed to support manufacturing,
     packaging staging and distribution operations
 •   Postal and shipping workers, to include private companies
 •   Employees who repair and maintain vehicles, aircraft, rail equipment, marine vessels, and the
     equipment and infrastructure that enables operations that encompass movement of cargo and
     passengers
 •   Air transportation employees, including air traffic controllers, ramp personnel, aviation security, and
     aviation management
 •   Workers who support the maintenance and operation of cargo by air transportation, including flight
     crews, maintenance, airport operations, and other on- and off- airport facilities workers




 COMMUNICATIONS AND INFORMATION TECHNOLOGY
 Sector Profile

 The Communications Sector provides products and services that support the efficient operation of
 today’s global information-based society. Communication networks enable people around the world to
 contact one another, access information instantly, and communicate from remote areas. This involves
 creating a link between a sender (including voice signals) and one or more recipients using technology
 (e.g., a telephone system or the Internet) to transmit information from one location to another.
 Technologies are changing at a rapid pace, increasing the number of products, services, service
 providers, and communication options. The national communications architecture is a complex
 collection of networks that are owned and operated by individual service providers. Many of this
 sector’s products and services are foundational or necessary for the operations and services provided by
 other critical infrastructure sectors. The nature of communication networks involve both physical
 infrastructure (buildings, switches, towers, antennas, etc.) and cyber infrastructure (routing and



                                                                                                           8

                                       Exhibit 10, page 8 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 88 of 167 Page ID
                                   #:566
                                                                                           March 22, 2020


switching software, operational support systems, user applications, etc.), representing a holistic
challenge to address the entire physical-cyber infrastructure.



The IT Sector provides products and services that support the efficient operation of today’s global
information-based society and are integral to the operations and services provided by other critical
infrastructure Sectors. The IT Sector is comprised of small and medium businesses, as well as large
multinational companies. Unlike many critical infrastructure Sectors composed of finite and easily
identifiable physical assets, the IT Sector is a functions-based Sector that comprises not only physical
assets but also virtual systems and networks that enable key capabilities and services in both the public
and private sectors.



Essential Workforce - Communications:

•   Maintenance of communications infrastructure- including privately owned and maintained
    communication systems- supported by technicians, operators, call-centers, wireline and wireless
    providers, cable service providers, satellite operations, undersea cable landing stations, Internet
    Exchange Points, and manufacturers and distributors of communications equipment
•   Workers who support radio, television, and media service, including, but not limited to front line
    news reporters, studio, and technicians for newsgathering and reporting
•   Workers at Independent System Operators and Regional Transmission Organizations, and Network
    Operations staff, engineers and/or technicians to manage the network or operate facilities
•   Engineers, technicians and associated personnel responsible for infrastructure construction and
    restoration, including contractors for construction and engineering of fiber optic cables
•   Installation, maintenance and repair technicians that establish, support or repair service as needed
•   Central office personnel to maintain and operate central office, data centers, and other network
    office facilities
•   Customer service and support staff, including managed and professional services as well as remote
    providers of support to transitioning employees to set up and maintain home offices, who interface
    with customers to manage or support service environments and security issues, including payroll,
    billing, fraud, and troubleshooting
•   Dispatchers involved with service repair and restoration



Essential Workforce - Information Technology:

•   Workers who support command centers, including, but not limited to Network Operations
    Command Center, Broadcast Operations Control Center and Security Operations Command Center
•   Data center operators, including system administrators, HVAC & electrical engineers, security
    personnel, IT managers, data transfer solutions engineers, software and hardware engineers, and
    database administrators
•   Client service centers, field engineers, and other technicians supporting critical infrastructure, as
    well as manufacturers and supply chain vendors that provide hardware and software, and


                                                                                                            9

                                       Exhibit 10, page 9 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 89 of 167 Page ID
                                   #:567
                                                                                           March 22, 2020


     information technology equipment (to include microelectronics and semiconductors) for critical
     infrastructure
 •   Workers responding to cyber incidents involving critical infrastructure, including medical facilities,
     SLTT governments and federal facilities, energy and utilities, and banks and financial institutions,
     and other critical infrastructure categories and personnel
 •   Workers supporting the provision of essential global, national and local infrastructure for computing
     services (incl. cloud computing services), business infrastructure, web-based services, and critical
     manufacturing
 •   Workers supporting communications systems and information technology used by law enforcement,
     public safety, medical, energy and other critical industries
 •   Support required for continuity of services, including janitorial/cleaning personnel




 OTHER COMMUNITY-BASED GOVERNMENT OPERATIONS AND
 ESSENTIAL FUNCTIONS

 Essential Workforce

 •   Critical government workers, as defined by the employer and consistent with Continuity of
     Operations Plans and Continuity of Government plans.
 •   County workers responsible for determining eligibility for safety net benefits
 •   The Courts, consistent with guidance released by the California Chief Justice
 •   Workers to ensure continuity of building functions
 •   Security staff to maintain building access control and physical security measures
 •   Elections personnel
 •   Federal, State, and Local, Tribal, and Territorial employees who support Mission Essential Functions
     and communications networks
 •   Trade Officials (FTA negotiators; international data flow administrators)
 •   Weather forecasters
 •   Workers that maintain digital systems infrastructure supporting other critical government
     operations
 •   Workers at operations centers necessary to maintain other essential functions
 •   Workers who support necessary credentialing, vetting and licensing operations for transportation
     workers
 •   Workers who are critical to facilitating trade in support of the national, state, and local emergency
     response supply chain
 •   Workers supporting public and private childcare establishments, pre-K establishments, K-12 schools,
     colleges, and universities for purposes of distance learning, provision of school meals, or care and
     supervision of minors to support essential workforce across all sectors




                                                                                                        10

                                      Exhibit 10, page 10 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 90 of 167 Page ID
                                   #:568
                                                                                            March 22, 2020


 •   Workers and instructors supporting academies and training facilities and courses for the purpose of
     graduating students and cadets that comprise the essential workforce for all identified critical
     sectors
 •   Hotel Workers where hotels are used for COVID-19 mitigation and containment measures, including
     measures to protect homeless populations.
 •   Construction Workers who support the construction, operation, inspection, and maintenance of
     construction sites and construction projects (including housing construction)
 •   Workers such as plumbers, electricians, exterminators, and other service providers who provide
     services that are necessary to maintaining the safety, sanitation, construction material sources, and
     essential operation of construction sites and construction projects (including those that support
     such projects to ensure the availability of needed facilities, transportation, energy and
     communications; and support to ensure the effective removal, storage, and disposal of solid waste
     and hazardous waste)
 •   Commercial Retail Stores, that supply essential sectors, including convenience stores, pet supply
     stores, auto supplies and repair, hardware and home improvement, and home appliance retailers
 •   Workers supporting the entertainment industries, studios, and other related establishments,
     provided they follow covid-19 public health guidance around social distancing.
 •   Workers critical to operating Rental Car companies that facilitate continuity of operations for
     essential workforces, and other essential travel
 •   Workers that provide or determine eligibility for food, shelter, in-home supportive services, child
     welfare, adult protective services and social services, and other necessities of life for economically
     disadvantaged or otherwise needy individuals (including family members)
 •   Professional services, such as legal or accounting services, when necessary to assist in compliance
     with legally mandated activities and critical sector services
 •   Faith based services that are provided through streaming or other technology
 •   Laundromats and laundry services
 •   Workers at animal care facilities that provide food, shelter, veterinary and/or routine care and other
     necessities of life for animals.




 CRITICAL MANUFACTURING
 Sector Profile

 The Critical Manufacturing Sector identifies several industries to serve as the core of the sector: Primary
 Metals Manufacturing, Machinery Manufacturing, Electrical Equipment, Appliance, and Component
 Manufacturing, Transportation Equipment Manufacturing Products made by these manufacturing
 industries are essential to many other critical infrastructure sectors.



 Essential Workforce




                                                                                                          11

                                       Exhibit 10, page 11 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 91 of 167 Page ID
                                   #:569
                                                                                               March 22, 2020


 • Workers necessary for the manufacturing of materials and products needed for medical supply chains,
 transportation, energy, communications, food and agriculture, chemical manufacturing, nuclear
 facilities, the operation of dams, water and wastewater treatment, emergency services, and the defense
 industrial base.




 HAZARDOUS MATERIALS
 Essential Workforce

 •   Workers at nuclear facilities, workers managing medical waste, workers managing waste from
     pharmaceuticals and medical material production, and workers at laboratories processing test kits
 •   Workers who support hazardous materials response and cleanup
 •   Workers who maintain digital systems infrastructure supporting hazardous materials management
     operations




 FINANCIAL SERVICES
 Sector Profile

 The Financial Services Sector includes thousands of depository institutions, providers of investment
 products, insurance companies, other credit and financing organizations, and the providers of the
 critical financial utilities and services that support these functions. Financial institutions vary widely in
 size and presence, ranging from some of the world’s largest global companies with thousands of
 employees and many billions of dollars in assets, to community banks and credit unions with a small
 number of employees serving individual communities. Whether an individual savings account, financial
 derivatives, credit extended to a large organization, or investments made to a foreign country, these
 products allow customers to: Deposit funds and make payments to other parties; Provide credit and
 liquidity to customers; Invest funds for both long and short periods; Transfer financial risks between
 customers.



 Essential Workforce

 •   Workers who are needed to process and maintain systems for processing financial transactions and
     services (e.g., payment, clearing, and settlement; wholesale funding; insurance services; and capital
     markets activities)
 •   Workers who are needed to provide consumer access to banking and lending services, including
     ATMs, and to move currency and payments (e.g., armored cash carriers)
 •   Workers who support financial operations, such as those staffing data and security operations
     centers

                                                                                                             12

                                        Exhibit 10, page 12 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 92 of 167 Page ID
                                   #:570
                                                                                          March 22, 2020




 CHEMICAL
 Sector Profile

 The Chemical Sector—composed of a complex, global supply chain—converts various raw materials into
 diverse products that are essential to modern life. Based on the end product produced, the sector can
 be divided into five main segments, each of which has distinct characteristics, growth dynamics,
 markets, new developments, and issues: Basic chemicals; Specialty chemicals; Agricultural chemicals;
 Pharmaceuticals; Consumer products



 Essential Workforce

 •   Workers supporting the chemical and industrial gas supply chains, including workers at chemical
     manufacturing plants, workers in laboratories, workers at distribution facilities, workers who
     transport basic raw chemical materials to the producers of industrial and consumer goods, including
     hand sanitizers, food and food additives, pharmaceuticals, textiles, and paper products.
 •   Workers supporting the safe transportation of chemicals, including those supporting tank truck
     cleaning facilities and workers who manufacture packaging items
 •   Workers supporting the production of protective cleaning and medical solutions, personal
     protective equipment, and packaging that prevents the contamination of food, water, medicine,
     among others essential products
 •   Workers supporting the operation and maintenance of facilities (particularly those with high risk
     chemicals and/ or sites that cannot be shut down) whose work cannot be done remotely and
     requires the presence of highly trained personnel to ensure safe operations, including plant contract
     workers who provide inspections
 •   Workers who support the production and transportation of chlorine and alkali manufacturing,
     single-use plastics, and packaging that prevents the contamination or supports the continued
     manufacture of food, water, medicine, and other essential products, including glass container
     manufacturing




 DEFENSE INDUSTRIAL BASE
 Sector Profile

 The Defense Industrial Base Sector is the worldwide industrial complex that enables research and
 development, as well as design, production, delivery, and maintenance of military weapons systems,
 subsystems, and components or parts, to meet U.S. military requirements. The Defense Industrial Base
 partnership consists of Department of Defense components, Defense Industrial Base companies and
 their subcontractors who perform under contract to the Department of Defense, companies providing

                                                                                                       13

                                      Exhibit 10, page 13 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 93 of 167 Page ID
                                   #:571
                                                                                         March 22, 2020


incidental materials and services to the Department of Defense, and government-owned/contractor-
operated and government-owned/government-operated facilities. Defense Industrial Base companies
include domestic and foreign entities, with production assets located in many countries. The sector
provides products and services that are essential to mobilize, deploy, and sustain military operations.



Essential Workforce

•   Workers who support the essential services required to meet national security commitments to the
    federal government and U.S. Military. These individuals, include but are not limited to, aerospace;
    mechanical and software engineers, manufacturing/production workers; IT support; security staff;
    security personnel; intelligence support, aircraft and weapon system mechanics and maintainers
•   Personnel working for companies, and their subcontractors, who perform under contract to the
    Department of Defense providing materials and services to the Department of Defense, and
    government-owned/contractor-operated and government-owned/government-operated facilities




                                                                                                          14

                                     Exhibit 10, page 14 of 14
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 94 of 167 Page ID
                                   #:572
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 95 of 167 Page ID
                                   #:573
4/26/2020                                         Coronavirus: Gun stores essential? Newsom punts to counties


                    By THOMAS PEELE | tpeele@bayareanewsgroup.com, ROBERT SALONGA |
                    rsalonga@bayareanewsgroup.com and JOSEPH GEHA |
                    jgeha@bayareanewsgroup.com | Bay Area News Group
                    PUBLISHED: March 25, 2020 at 4:56 p.m. | UPDATED: March 26, 2020 at 4:08 p.m.




                          In the interest of public safety, critical coronavirus coverage is
                           being provided free to all readers. Support reporting like this
                            with a subscription to The Mercury News. Only 99¢ for a 3-
                                                               month trial.



                                                     Support local journalism


                    Gov. Gavin Newsom on Wednesday wouldn’t say whether his unprecedented
                    statewide shelter-in-place order means gun stores in California have to close as
                    non-essential businesses, instead leaving that decision to each of the state’s 58
                    counties.

                    “I believe in people’s right to bear arms but I’ll defer to the sheriff in this
                    instance, the sheriffs in their respective jurisdictions,” said Newsom during a
                    press conference.

                    That’s sure to muddle what some local leaders say is a growing public safety
                    issue: panicked buying of rearms and some stores defying tougher restrictions
                    in Bay Area counties that don’t de ne them as essential businesses during the
                    unprecedented lockdown to stop the spread of the coronavirus.

                    “We don’t want a run on guns,” Contra Costa County Supervisor John Gioia said
                    Wednesday. “It’s a public safety issue. Law enforcement is well prepared to
                    handle any issues. People don’t need to stock up on guns.”

                    Gioia said the joint shelter-in-place order issued on March 16 by Alameda,
                    Contra Costa, Santa Clara, San Mateo, San Francisco, and Marin counties clearly
                    deemed gun stores non-essential.

                    A check on the status of 75 gun stores in 17 Northern California counties by this
                    news organization found at least 32 were either fully open for business or
                    allowing customers to come in and pick up weapons that had already been   n
                    ordered. At least 12 were closed. The status of the others was unclear.
https://www.mercurynews.com/2020/03/25/coronavirus-are-gun-stores-essential-governor-sidesteps-that-question-leaves-it-to-the-counties/   2/6


                                                    Exhibit 11, page 2 of 6
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 96 of 167 Page ID
                                   #:574
4/26/2020                                         Coronavirus: Gun stores essential? Newsom punts to counties

                    Stores were open in Pleasant Hill, Antioch, Brentwood and El Cerrito in Contra
                    Costa County, Fremont in Alameda County, and Paci ca in San Mateo County.
                    Gioia said the Contra Costa stores would be closed.

                    In Marin County, the owner of Marin Firearms recorded a phone answering
                    machine message saying the store was ordered to close: “We were forced to shut
                    down the store. We tried to stay open.”

                    Early last week San Jose Mayor Sam Liccardo quickly deemed gun stores in that
                    city to be non-essential after Bullseye Bishop stayed open after the Santa Clara
                    County had ordered a shelter in place. The police visited the shop and ordered it
                    to close.

                    The issue began getting more attention Tuesday when Los Angeles County
                    Sheriff Alex Villanueva called gun stores non-essential and ordered his deputies
                    to make sure they closed, citing safety concerns. Shelter-in-place orders were
                    not permission “for everyone to be panic gun-buying or rushing to stores,” the
                    Associated Press reported.

                    But late Tuesday, the Los Angeles County Counsel, Mary Wickham, issued a
                    written opinion that gun stores are essential.

                    Villanueva then reversed his order to enforce closures, the Los Angeles Daily
                    News reported. But later Wednesday, after Newsom’s news conference, the
                    sheriff appeared to leave the door open on enforcement, tweeting that the
                    governor had con rmed that “the sheriff has the authority to enforce his
                    executive order and keep the public safe during this pandemic.”

                    Kris Brown, president of the gun control group Brady, said pandemic calls for
                    extraordinary measures.

                    “They are temporary orders to address an emergency situation. There is no
                    constitutional right to purchase a rearm immediately and, during this time
                    where there are legitimate public safety concerns, all rights are balanced against
                    competing interest in public safety and security,” Brown said.

                    At the Antioch Armory, a small gun store across the street from city hall, on
                    Wednesday morning, a sign taped to a window said 10 customers were allowed
                    in at time.

                    Staff members were wearing masks and gloves. One was showing a handgun to a
                    man and woman, racking its slide several times, the gun making a distinct, loud
                    click each time.

                    Asked if the store was outing the county’s shelter-in-place order by being
                    open, the owner, Mike Yow, declined to answer.


https://www.mercurynews.com/2020/03/25/coronavirus-are-gun-stores-essential-governor-sidesteps-that-question-leaves-it-to-the-counties/   3/6


                                                    Exhibit 11, page 3 of 6
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 97 of 167 Page ID
                                   #:575
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 98 of 167 Page ID
                                   #:576
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 99 of 167 Page ID
                                   #:577
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 100 of 167 Page ID
                                    #:578
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 101 of 167 Page ID
                                    #:579
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 102 of 167 Page ID
                                    #:580
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 103 of 167 Page ID
                                    #:581
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 104 of 167 Page ID
                                    #:582
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 105 of 167 Page ID
                                    #:583
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 106 of 167 Page ID
                                    #:584
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 107 of 167 Page ID
                                    #:585
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 108 of 167 Page ID
                                    #:586
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 109 of 167 Page ID
                                    #:587
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 110 of 167 Page ID
                                    #:588
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 111 of 167 Page ID
                                    #:589
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 112 of 167 Page ID
                                    #:590
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 113 of 167 Page ID
                                    #:591
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 114 of 167 Page ID
                                    #:592
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 115 of 167 Page ID
                                    #:593
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 116 of 167 Page ID
                                    #:594
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 117 of 167 Page ID
                                    #:595
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 118 of 167 Page ID
                                    #:596
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 119 of 167 Page ID
                                    #:597
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 120 of 167 Page ID
                                    #:598
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 121 of 167 Page ID
                                    #:599
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 122 of 167 Page ID
                                    #:600
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 123 of 167 Page ID
                                    #:601
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 124 of 167 Page ID
                                    #:602
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 125 of 167 Page ID
                                    #:603
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 126 of 167 Page ID
                                    #:604
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 127 of 167 Page ID
                                    #:605
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 128 of 167 Page ID
                                    #:606
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 129 of 167 Page ID
                                    #:607
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 130 of 167 Page ID
                                    #:608
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 131 of 167 Page ID
                                    #:609
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 132 of 167 Page ID
                                    #:610
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 133 of 167 Page ID
                                    #:611
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 134 of 167 Page ID
                                    #:612
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 135 of 167 Page ID
                                    #:613
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 136 of 167 Page ID
                                    #:614
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 137 of 167 Page ID
                                    #:615
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 138 of 167 Page ID
                                    #:616
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 139 of 167 Page ID
                                    #:617
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 140 of 167 Page ID
                                    #:618
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 141 of 167 Page ID
                                    #:619
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 142 of 167 Page ID
                                    #:620
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 143 of 167 Page ID
                                    #:621
   Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 144 of 167 Page ID
                                       #:622
4/27/2020                             Miami Has Recorded No Homicides in 6 Weeks Despite Deliberate Decline in Police Enforcement – Reason.com


  CORONAVIRUS




  Miami Has Recorded No Homicides in 6 Weeks Despite Deliberate Decline in
  Police Enforcement
  Miami’s police chief orders of cers to reduce ticketing and public interactions. Mayhem doesn’t ensue.
  SCOTT SHACKFORD   | 4.23.2020 1:00 PM




       




                                                                                                                                     (Joaquin Barbara / Dreamstime.com)


  Fears of COVID-19 infection may have emptied the streets of Miami, but criminals are not taking advantage of the situation. Miami Police Chief Jorge
  Colina says that not only has violent crime plunged in the city, but Miami has not reported a homicide in six weeks. That hasn't happened since
  1964.

  Colina himself tested positive for COVID-19 last week and is at home recovering. The New York Times reports (you'll have to scroll down for the
  story) that 20 of Miami's 1,400 of cers are sick. That's actually a pretty low infection rate when compared to a place like New York City, where at
  least 1,500 NYPD of cers have become infected out of 36,000 of cers. Earlier in April, one out of six NYPD of cers was out sick.

  One difference appears to be that Colina gave his of cers very different instructions. He has strongly discouraging Miami police from interacting with
  people, both for his of cers' safety and the safety of city residents. From the Times:


     "I literally told them, 'I don't care if we don't issue a single ticket summons in the month of April,'" he said. "'I don't want you to unnecessarily
     interact with someone if you don't have to, for your safety and theirs.' And the amount of people who have been impacted nancially is
     absolutely something that we should be mindful of."

  Meanwhile, the NYPD appears to be out in force continuing heavy-duty policing of low-level "quality-of-life" crimes even as COVID-19 spreads
  through the department and the city's jails. NYPD Commissioner Dermot Shea has declared that he, unlike Colina, will not be reducing enforcement.

  Perhaps he should. Miami's de-policing decision is not leading to anarchy. Colina says the city is seeing an uptick in car break-ins and that he worries
  about domestic violence incidents going unreported. Nevertheless, crime overall in Miami is down (and has been trending downward for years), and
  the community isn't any less safe as a result of his of cers showing restraint.




https://reason.com/2020/04/23/miami-has-recorded-no-homicides-in-6-weeks-despite-deliberate-decline-in-police-enforcement/                                            3/6


                                                               Exhibit 19, page 1 of 1
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 145 of 167 Page ID
                                    #:623
  Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 146 of 167 Page ID
                                      #:624
4/27/2020                                                Coronavirus: Cops say commercial burglaries, vehicle thefts on rise
   Regarding vehicle thefts, deputies said a frequent reason vehicles get stolen is due to keys being left inside an unlocked vehicle. Authorities recommend
   locking vehicles and taking the keys out when leaving it unattended to reduce the chances of the vehicle getting stolen. They also suggest not leaving
   any valuables inside a vehicle even if it's locked to dissuade thieves from breaking in.


   Any criminal activity can be reported directly to the sheriff's office by calling 805-654-9511.


                        Get the News Alerts newsletter in your inbox.
                        Get alerted to the latest stories to stay on top of the news.

                        Delivery Varies
                        Your Email
                        ellen.bajenting@ventura.org



   Jeremy Childs is a breaking news and public safety reporter covering the night shift for the Ventura County Star. He can be reached by calling 805-437-
   0208 or emailing jeremy.childs@vcstar.com (mailto:jeremy.childs@vcstar.com). You can also find him on Twitter @Jeremy Childs
   (https://twitter.com/Jeremy Childs).


   Read or Share this story: https://www.vcstar.com/story/news/crime/2020/04/13/coronavirus-sheriff-say-commercial-burglaries-vehicle-thefts-
   rise/2977993001/




https://www.vcstar.com/story/news/crime/2020/04/13/coronavirus-sheriff-say-commercial-burglaries-vehicle-thefts-rise/2977993001/                             2/2


                                                              Exhibit 20, page 2 of 2
5/5/2020                                  CA_COVID-19_May2.png
           Case 2:20-cv-02927-CBM-AS Document                  (2550×1908) Page 147 of 167 Page ID
                                              32-1 Filed 05/05/20
                                               #:625




                                                  Exhibit 21, Page 1 of 2
https://www.cdph.ca.gov/Programs/CID/DCDC/PublishingImages/COVID-19/CA_COVID-19_May2.png             1/1
COVID-19      Last Updated on 5/3/2020                      Statewide Case Statistics
             Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 148 of 167 Page ID
Positive Cases by County               Ventura Case Statistics        #:626           Positive Cases by County
Sort by    Positive Cases
                               Positive Cases
Los Angeles        25,708
Riverside          4,034      583                                                                                 19

San Diego          3,929
Orange             2,859      +19                            4

Santa Clara        2,235      +3.4%                            3/21      3/28    4/4    4/11    4/18    4/25    5/2 5/9
San Bernardino     2,123
Alameda            1,731       Deaths

                              19
San Francisco      1,692
San Mateo          1,277                                      0                                                   0
Sacramento         1,109
Kern               1,025      +0                               3/21      3/28    4/4    4/11    4/18    4/25    5/2 5/9
                                                                                                                                     © Mapbox © OSM

                                                                                                                             Positive Cases Demographics
Contra Costa       945        +0.0%                           Note: Any instance of a negative number of cases or
Tulare             736                                        deaths reflects a correction to previous reporting.            Gender                   Age                    Race/Ethnicity
Fresno             646
                              Lab Tests Reported Statewide                                                                   Female         50%       0-17           3%       AIAN           0%
Ventura            583                                                                                                                                                                      12%
                                                                                                                                                                              Asian
San Joaquin
Santa Barbara
                   570
                   512
                              747,874                                                                                 748K   Male

                                                                                                                             Unknown
                                                                                                                                            50%

                                                                                                                                             1%
                                                                                                                                                      18-49         49%

                                                                                                                                                                    26%
                                                                                                                                                                              Black
                                                                                                                                                                              Latino
                                                                                                                                                                                             6%
                                                                                                                                                                                            48%
                                                                                                                                                      50-64
Stanislaus         411                                                                                                                                                        NHPI           1%
Imperial           351        +32,123                        11K                                                                                      65+           22%       White         26%

Solano             266        +4.5%                                                                                                                   Unknown        0%
                                                                                                                                                                              Multiracial    1%
                                                                  3/21    3/28    4/4    4/11    4/18    4/25    5/2                                                          Other          6%
Sonoma             254
                             Note: The increase in number of tests conducted on 4/22 is due to the addition of data          Note: Percentages may not add up to 100% due to rounding. Breakdown
                             sources to reflect a more complete count of testing in California.                              of deaths is a subset of total deaths as reported by law enforcement.




                                                           Exhibit 21, Page 2 of 2
   Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 149 of 167 Page ID
                                       #:627

                                                                                     U.S. Department of Homeland Security
                                                                                     Cybersecurity & Infrastructure Security Agency
                                                                                     Office of the Director
                                                                                     Washington, DC 20528




                                                                                               March 28, 2020


ADVISORY MEMORANDUM ON IDENTIFICATION OF ESSENTIAL CRITICAL
INFRASTRUCTURE WORKERS DURING COVID-19 RESPONSE


FROM:            Christopher C. Krebs
                 Director
                 Cybersecurity and Infrastructure Security Agency (CISA)



As the Nation comes together to slow the spread of COVID-19, on March 16th the
President issued updated Coronavirus Guidance for America that highlighted the
importance of the critical infrastructure workforce.

The Cybersecurity and Infrastructure Security Agency (CISA) executes the Secretary of
Homeland Security’s authorities to secure critical infrastructure. Consistent with these
authorities, CISA has developed, in collaboration with other federal agencies, State and
local governments, and the private sector, an “Essential Critical Infrastructure Workforce”
advisory list. This list is intended to help State, local, tribal and territorial officials as they work to
protect their communities, while ensuring continuity of functions critical to public health
and safety, as well as economic and national security. Decisions informed by this list
should also take into consideration additional public health considerations based on the
specific COVID-19-related concerns of particular jurisdictions.

This list is advisory in nature. It is not, nor should it be considered, a federal directive
or standard. Additionally, this advisory list is not intended to be the exclusive list of
critical infrastructure sectors, workers, and functions that should continue during
the COVID-19 response across all jurisdictions. Individual jurisdictions should add
or subtract essential workforce categories based on their own requirements and
discretion.

The advisory list identifies workers who conduct a range of operations and services that are
typically essential to continued critical infrastructure viability, including staffing
operations centers, maintaining and repairing critical infrastructure, operating call centers,
working construction, and performing operational functions, among others. It also
includes workers who support crucial supply chains and enable functions for critical
infrastructure. The industries they support represent, but are not limited to, medical and
healthcare, telecommunications, information technology systems, defense, food and
agriculture, transportation and logistics, energy, water and wastewater, law enforcement,

                                               Exhibit 22, page 1 of 19
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 150 of 167 Page ID
                                    #:628

and public works.

State, local, tribal, and territorial governments are responsible for implementing and
executing response activities, including decisions about access and reentry, in their
communities, while the Federal Government is in a supporting role. Officials should use
their own judgment in issuing implementation directives and guidance. Similarly, while
adhering to relevant public health guidance, critical infrastructure owners and operators
are expected to use their own judgement on issues of the prioritization of business
processes and workforce allocation to best ensure continuity of the essential goods and
services they support. All decisions should appropriately balance public safety, the health
and safety of the workforce, and the continued delivery of essential critical infrastructure
services and functions. While this advisory list is meant to help public officials and
employers identify essential work functions, it allows for the reality that some workers
engaged in activity determined to be essential may be unable to perform those functions
because of health-related concerns.

CISA will continue to work with our partners in the critical infrastructure community to
update this advisory list if necessary as the Nation’s response to COVID-19 evolves.

Should you have questions about this list, please contact CISA at CISA.CAT@cisa.dhs.gov.

Attachment: “Guidance on the Essential Critical Infrastructure Workforce: Ensuring Community
             and National Resilience in COVID-19 Response Version 2.0”




                                      Exhibit 22, page 2 of 19
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 151 of 167 Page ID
                                    #:629
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 152 of 167 Page ID
                                    #:630
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 153 of 167 Page ID
                                    #:631
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 154 of 167 Page ID
                                    #:632
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 155 of 167 Page ID
                                    #:633
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 156 of 167 Page ID
                                    #:634
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 157 of 167 Page ID
                                    #:635
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 158 of 167 Page ID
                                    #:636
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 159 of 167 Page ID
                                    #:637
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 160 of 167 Page ID
                                    #:638
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 161 of 167 Page ID
                                    #:639
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 162 of 167 Page ID
                                    #:640
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 163 of 167 Page ID
                                    #:641
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 164 of 167 Page ID
                                    #:642
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 165 of 167 Page ID
                                    #:643
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 166 of 167 Page ID
                                    #:644
Case 2:20-cv-02927-CBM-AS Document 32-1 Filed 05/05/20 Page 167 of 167 Page ID
                                    #:645
